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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

   ILLUMINA, INC. AND ILLUMINA                 )
   CAMBRIDGE, LTD.,                            )
                                               )     C.A. No. 25-602-RGA
                         Plaintiffs,           )
                                               )
             v.                                )     JURY TRIAL DEMANDED
                                               )
   ELEMENT BIOSCIENCES, INC.,                  )
                                               )
                         Defendant.            )

           AMENDED COMPLAINT FOR PATENT INFRINGEMENT

                  Plaintiffs Illumina, Inc. and Illumina Cambridge, Ltd. (together,

  “Illumina”), by and through their undersigned attorneys, for their Complaint

  against Defendant Element Biosciences, Inc. (“Element”) allege, upon knowledge

  with respect to its own and publicly available information and upon information

  and belief as to the acts of others, as follows:

                               NATURE OF THE ACTION

                  1.     This is an action about Element’s unauthorized use of

  Illumina’s patented innovations in the automation of genetic sequencing and its

  attempt to profit from Illumina’s extensive investment in research and

  development that led to those inventions. Illumina seeks damages for Element’s

  past infringement of its patents and an injunction to preclude Element’s continued

  use of Illumina’s patented inventions.
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               2.    Specifically, this is an action for infringement under 35 U.S.C.

  § 271(a) and § 271(b) of U.S. Patent No. 12,151,241 (the “’241 Patent”); U.S.

  Patent No. 8,951,781 (the “’781 Patent”); U.S. Patent No. 11,117,130 (the “’130

  Patent”), U.S. Patent No. 11,697,116 (the “’116 Patent”), U.S. Patent

  No. 12,251,702 (the “’702 Patent”) and U.S. Patent No. 12,325,028 (the “’028

  Patent”) (collectively, the “Patents-in-Suit”). Section 271(a) provides that

  “whoever without authority makes, uses, offers to sell, or sells any patented

  invention, within the United States or imports into the United States any patented

  invention during the term of the patent therefor, infringes the patent.” Section

  271(b) provides that “[w]hoever actively induces infringement of a patent shall be

  liable as an infringer.” As detailed below, Element makes, uses, offers to sell and

  sells products that include the inventions Illumina patented in the Patents-in-Suit

  and induces its customers to infringe the Patents-in-Suit.

               3.    Illumina’s patents are directed to genetic sequencing

  instruments (or “systems,” as they are sometimes called in the Patents-in-Suit) and

  their associated “consumables,” which include packages of chemical reagents and

  other components that are used to perform sequencing using the patented systems.

  The patented systems are used to perform genetic sequencing by determining the

  “code” that makes up DNA and other genetic material.




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              4.     Genetic sequencing systems are used by research organizations

  and hospitals to sequence DNA for many applications. For example, decoding an

  individual’s DNA allows researchers to predict the likelihood that a person will

  develop certain diseases, diagnose previously hard to detect diseases that may be

  afflicting a person and—based on that genetic information—develop treatments for

  them. Genetic sequencing also allows scientists to research the underlying causes

  of certain diseases and develop more effective treatments for those diseases.

              5.     Illumina is a pioneer in genetic sequencing and has advanced

  the state of the art significantly over the last 25 years. When Illumina was founded

  in 1998, research institutions were engaged in a multinational campaign—the

  Human Genome Project—to sequence a single human genome. That effort cost

  $3 billion and took 13 years because—at the time—sequencing could only be

  performed by highly skilled scientists and at great time and expense. Illumina’s

  innovations made sequencing more accessible by simplifying the sequencing

  workflow, reducing the cost of sequencing and automating many tasks. These

  benefits allowed sequencing to be used for more applications.

              6.     Through a series of innovations and investment, Illumina has

  continued to reduce sequencing costs and expand access to sequencing for more

  users. In 2011, Illumina introduced the MiSeq® instrument, which practices the

  inventions of many of the Patents-in-Suit. The MiSeq provided a low cost,



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  personal, next-generation sequencing system that enabled users to perform a single

  sequencing run for only $400. For comparison, Illumina’s first sequencer, the

  Genome Analyzer, which launched in 2007, cost $3,000 to run and generated less

  than a fifteenth of the data per run that could be generated by the MiSeq.

               7.    Through the innovations claimed in the Patents-in-Suit,

  Illumina turned a process conducted by specialist technicians that was time-

  consuming and error-prone into a reliable, fully automated endeavor that can be

  performed by someone with limited specialized training. These patents disclose

  and protect key innovations that made Illumina’s sequencing machines so much

  more reliable, efficient and effective than prior systems. These innovations also

  dramatically increased the accessibility of sequencing. Both the affordable cost

  and the accessibility of the MiSeq made it the most popular instrument in Illumina

  history, expanding access to next-generation sequencing technology. In 2013—

  only two years after launch—two thirds of readers surveyed by a popular genomics

  news site owned at least one MiSeq.1

               8.    Element does not have this history of innovation. It was

  formed by a group of former Illumina employees in 2017 to sell genetic


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   Ex. 1, Julia Karow, “In Sequence 2013 Survey: Illumina Pulls Further Ahead,
  Interest in Oxford Nanopore Remains High,” genomeweb (Jan. 7, 2014),
  https://www.genomeweb.com/clinical-sequencing/sequence-2013-survey-illumina-
  pulls-further-ahead-interest-oxford-nanopore.


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  sequencing systems that borrow heavily from Illumina’s systems, including

  technologies that were developed while those Element employees were working at

  Illumina. Today, Element’s sequencing instruments and consumables compete

  directly with Illumina’s products. Element uses important aspects of Illumina’s

  sequencing systems, and its products infringe Illumina’s patents.

               9.    Element seeks to use and profit from Illumina’s innovations

  without compensating Illumina for its tremendous investment in research and

  development over many decades to create its groundbreaking genetic sequencing

  instruments. Illumina brings this action to hold Element accountable for its sale of

  systems claimed by the Patents-in-Suit and to end its infringement.

                                    THE PARTIES

               10.   Plaintiff Illumina, Inc. is a Delaware corporation with its

  principal place of business at 5200 Illumina Way, San Diego, California 92122.

               11.   Illumina, Inc. researches and develops cutting edge genetic

  sequencing instruments and reagents and other products used in sequencing

  applications and sells them within the United States. Illumina, Inc. is the exclusive

  licensee of the Patents-in-Suit. Illumina, Inc.’s products include the MiSeq,

  MiniSeq®, NextSeq® and NovaSeq® systems.

               12.   Plaintiff Illumina Cambridge, Ltd. is a subsidiary of Illumina,

  Inc. and is organized and existing under the laws of England and Wales. Its



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  principal place of business is 19 Granta Park, Great Abington Cambridge,

  Cambridgeshire CB21 6DF, United Kingdom.

               13.    Illumina Cambridge, Ltd. distributes the genetic sequencing

  products developed by Illumina, Inc. through a global network of channel partners

  and distributors, including Illumina, Inc. in the United States. Illumina Cambridge,

  Ltd. is the sole and exclusive owner of legal title to the Patents-in-Suit.

               14.    In recognition of its contributions to the industry, Illumina was

  inducted into the Small Business Innovation Research Hall of Fame in 2017. In

  2020, the inventors of Illumina’s sequencing technology received the Millennium

  Technology Prize. Illumina was listed as one of MIT Technology Review’s 25

  Smartest Companies in 2015; Forbes’ Most Innovative Companies in 2016, 2017

  and 2018; Fast Company’s Most Innovative Companies in Biotechnology in 2017

  and Most Innovative Health Companies in 2022 and TIME’s 100 Most Influential

  Companies in 2021.

               15.    Defendant Element is a Delaware corporation having its

  principal place of business at 10055 Barnes Canyon Road, San Diego, California

  92121.

               16.    Element was founded by former Illumina employees who, in

  their roles at Illumina, had extensive exposure to Illumina’s patented technology.




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  For example, Molly He, the co-founder and CEO of Element Biosciences, worked

  as Illumina’s Senior Director of Scientific Research for eight years.

               17.   Element is headquartered near Illumina’s former headquarters.

  Since its founding, Element has routinely hired Illumina employees.

               18.   Element recently introduced a series of instruments that use

  important features from Illumina’s sequencing systems. Element markets these

  instruments under the name AVITI.

                           JURISDICTION AND VENUE

               19.   This Court has subject matter jurisdiction under 28 U.S.C.

  §§ 1331 and 1338(a).

               20.   This Court has personal jurisdiction over Element because

  Element is incorporated in the state of Delaware.

               21.   Venue is proper in this judicial district under 28 U.S.C.

  § 1400(b), because Element, as a Delaware corporation, is deemed to reside in this

  district.

                            FACTUAL BACKGROUND

                            Basics of Genetic Sequencing

               22.   Genetic sequencing has numerous therapeutic, diagnostic and

  scientific applications. Sequencing has facilitated advances in many fields,

  including oncology, in the study of genetic and infectious diseases and in

  reproductive health. Genetic sequencing enables doctors to provide better care and

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  personalized medicine for patients and helps researchers make advances in our

  understanding of evolution and biology.

               23.   Genetic sequencing is essentially the decoding of nucleic acids

  such as deoxyribonucleic acid or “DNA.” DNA molecules in living organisms

  carry genetic information that enables those organisms to develop, function and

  reproduce. The genetic information in DNA is found in the specific and particular

  sequence of the units—called nucleotides—in a DNA strand. Those sequences

  function like a code that stores information. The code contains genes, specific

  sequences of DNA that enable organisms to make various proteins that perform

  critical functions. Knowing the sequence of nucleotides in a DNA sample allows

  scientists to understand genetic diseases and to screen for fetal abnormalities and

  cancers.

               24.   The four nucleotide bases in DNA are cytosine, guanine,

  adenine and thymine, typically abbreviated as “C,” “G,” “A” and “T.” Two

  strands of nucleotide bases intertwine to form the well-known DNA “double

  helix,” shown below. To create the double helix, each nucleotide base in one

  strand pairs with a complementary nucleotide base on a second strand, creating a

  “base pair.” Each base pair functions as a rung in the DNA “ladder.”




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                                         base pair




              25.    Nucleotides may take any order within an individual strand of

  DNA, but each natural DNA nucleotide base correctly binds to only one specific

  complementary natural DNA nucleotide base on the complementary strand:

  guanine correctly pairs with cytosine and adenine correctly pairs with thymine.

  Because of this complementarity, identifying the sequence of nucleotides in a

  strand of DNA reveals the sequence of nucleotides in its complementary strand.

              26.    Genetic sequencing technology can be used by scientists to

  identify the specific order of nucleotides in any strand of DNA, making the

  technology a powerful tool in genetic research.




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          Illumina’s Innovations Revolutionized Genetic Sequencing

            27.    In the mid-2000s, the ability to perform genetic sequencing was

limited to a small number of academic genome research centers. In 2003, the

Human Genome Project—a collaboration across genome research centers in many

countries—completed its 13-year campaign to sequence just one human genome at

a total cost of about $3 billion. Because sequencing was so expensive and time-

consuming, it could not be practically used in many settings, and the only

customers for genetic sequencing were large research institutions. As described

below, Illumina’s innovations changed that by making sequencing faster and more

affordable and increasing access to more users.

            28.    In 2007, Illumina acquired a startup called Solexa, which had

developed a method of sequencing known as “sequencing-by-synthesis.”

Sequencing-by-synthesis belongs to a class of high-throughput sequencing

techniques collectively called next-generation sequencing (“NGS”). At the time

Illumina acquired Solexa, sequencing-by-synthesis was considered an inflexible

process that could not be easily adapted and was expected to hit a “ceiling”—after

which no significant further improvements would be possible—within a few years.

Upending these expectations, however, Illumina improved both the chemistry of

the sequencing process and the mechanisms of sequencing instruments to the point

that Illumina’s NGS is more accurate, cheaper and faster than other NGS



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technologies. One key to Illumina’s superiority is that unlike the type of

sequencing that had been used by the researchers in the Human Genome Project, in

which nucleotides in a target DNA sample were painstakingly sequenced a handful

of strands at a time, Illumina’s NGS allows millions of different portions of the

same DNA sample to be sequenced simultaneously in a “massively parallel”

fashion.

              29.   At a high level, the sequencing techniques used by Illumina’s

instruments (and Element’s infringing instruments) rely on the complementary

nature of DNA nucleotide bases to sequence the target DNA sample. As part of

the sequencing workflow, the following steps (among others) are typically

performed:

                        • The DNA sample of interest is fragmented into smaller
           pieces and each is bound to a “flow cell,” where the sequencing is
           performed in the sequencing instrument. The flow cell is a microfluidic
           device specially designed to enable the flow of fluids through one or
           more channels to react with the sample.

                        • The sequencer introduces several liquids known as
           “reagents” to the flow cell in succession. These reagents are designed to
           cause specific chemical reactions within the flow cell.

                        • To determine the order of nucleotides in the DNA
           fragments, a light source illuminates portions of the flow cell, which
           excites fluorescently-tagged sequencing reagents and causes them to emit
           fluorescent signals. An imaging device captures these emitted
           fluorescent signals, which are correlated to different nucleotides,
           allowing the sequencer to determine the order of the nucleotides.




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                       • The steps of adding reagents, stimulating the flow cell
          with excitation light and using the imaging device to determine which
          fluorescent signals are emitted are repeated many times, thereby
          determining the order of the nucleotides in the DNA samples.

                      Drawbacks of Early NGS Technology

             30.    Early sequencing technologies required considerably more

manual effort than Illumina’s MiSeq and MiniSeq instruments, each of which

practice inventions of the Patents-in-Suit.

             31.    Early NGS systems required highly trained personnel and time-

consuming processes to minimize user error. For instance, the Genome

Analyzer—which was launched in 2007—required the user to apply immersion oil

between the flow cell and the face of a prism, manually align the flow cell and

clamp on fluidic manifolds to secure the flow cell. Each step introduced a

possibility of user error. To name just a few possibilities, misaligning the flow cell

could lead to the reagents leaking during synthesis and/or could introduce bubbles

into the flow cell that could obstruct imaging, while adding excess oil could cause

the oil to drip onto other components, in addition to generally being a messy

process. Flow cell misalignment also potentially affected the positioning of the

flow cell for imaging, requiring fixes to compensate for potential imaging

misalignment, which could otherwise impact the sequencing process.

             32.    Such errors had expensive consequences. The samples and

reagents used for performing sequencing are costly. Leakages wasted samples that


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had been painstakingly isolated by technicians as well as precious reagents and

required researchers to restart their sequencing runs, losing valuable time. And if

the instrument components were not positioned correctly, then the sequencing data

obtained from a run could contain errors, requiring the sequencing run to be

repeated, wasting samples and reagents and again losing time.

                   Illumina’s Innovations in Instrument Design

             33.    The Patents-in-Suit solve the problems of earlier systems by

removing the need to rely on the user’s ability to precisely place their samples and

reagents into the sequencing instrument. For example, aspects of the Patents-in-

Suit are directed to improved methods for securing the flow cell containing the

DNA sample of interest in the correct position for sequencing, while other aspects

are directed to improving the mechanisms for securing the sequencing reagents and

automatically distributing them to the flow cell during sequencing. No prior

system handled the alignment of the sequencing flow cell as claimed in the

Patents-in-Suit.

             34.    Certain of the patented systems eliminate the manual alignment

of the flow cell required by prior systems and instead allow a user to insert and

secure a flow cell in a device holder and have it automatically aligned for

sequencing. Specifically, the flow cell can be automatically aligned using an

actuator system and fixed in place using a rotatable cover so it can be accurately



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imaged by the optical sensor over repeated cycles of sequencing. The Patents-in-

Suit also enable further improvements in establishing the fluidic connection

between the inlet and outlet ports of the flow cell and the fluidic ports of the

instrument.

              35.   Other Patents-in-Suit further reduce the need for human

intervention during the sequencing process with improvements to the fluid storage

system of the sequencing instruments. These patents contain innovations that

allow a user to insert a tray containing reagents into a temperature-controlled

enclosure on the instrument and have “sipper tubes” or “sippers” automatically

descend in an accurate, reliable and repeatable manner into the tray to extract

reagents and deliver them to the flow cell. The sippers can then be automatically

withdrawn from the trays for safe removal of the tray from the instrument.

              36.   Illumina designs and sells instruments that practice the patented

inventions. Among them are the MiSeq, which enabled users to finish sequencing

runs in just eight hours from the first step of sample preparation to the completed

result, including only twenty minutes of “hands-on time.” Since its release,

Illumina has continued to make improvements to the MiSeq system, and the

instrument can now complete a sequencing run of 850 million base pairs in only

five and a half hours, or as many as 15 billion base pairs when using Illumina high-

output consumables. The MiSeq is shown below.



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(“MiSeq Sequencing System,” Illumina,
https://sapac.illumina.com/systems/sequencing-platforms/miseq.html.)

            37.    The combination of innovations protected by the Patents-in-Suit

made the MiSeq a hugely successful instrument that could perform lab-scale

sequencing runs faster and more cheaply than its predecessors.

            38.    Illumina’s MiniSeq sequencer also practices some of the

Patents-in-Suit. Released in 2016, the MiniSeq, like the MiSeq, is designed for

“load and go” use, minimizing manual preparation, errors and inconsistencies in

sequencing. The MiniSeq can sequence up to two billion base pairs in five hours,

not including the time to prepare the sample library. The MiniSeq is shown below.




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(“MiniSeq Sequencing System,” Illumina,
https://www.illumina.com/systems/sequencing-platforms/miniseq.html.)

             39.   Illumina spent decades and invested millions of dollars in

improving sequencing technology and the sequencing process. In 2007, the year

that Illumina launched the Genome Analyzer, it spent $65 million on research and

development. Since then, Illumina has greatly increased the resources it has

directed toward innovation. Its research and development expenses grew to $167

million in 2011 and $1.2 billion in 2024.

             40.   Through its many technological innovations, such as those

protected by the Patents-in-Suit, Illumina has made it easier to sequence genetic

material without the supervision of highly trained lab technicians. This

achievement allows laboratories to sequence more samples at a lower price and has

expanded the types of institutions that can perform sequencing.


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             41.   Illumina’s innovations have made sequencing faster, easier,

more accurate and more reliable. Among other advantages of Illumina’s NGS,

Illumina’s instruments have lower sample input requirements, higher accuracy and

the ability to detect even rarer genetic variants than was previously possible.

             42.   Many scientific and medical advancements have been made

possible because of Illumina’s innovations. Illumina’s NGS technology has so

significantly reduced the duration and cost of sequencing that it is now feasible in

clinical settings. Early NGS instruments could not be used in the clinical setting

because the instruments were too complex and yielded insufficiently reproducible

results to obtain FDA approval. Illumina’s MiSeq instrument—the first of

Illumina’s instruments to incorporate innovations of the Patents-in-Suit—was the

first sequencing instrument of any kind to be approved by the FDA to perform

diagnostic tests (under the name “MiSeqDx”) in a clinical setting.

             43.   Illumina’s genetic sequencing technology has been used for

many applications, including to enable researchers to identify cellular biomarkers

associated with the regulation of cancer genes and treatment resistance. Illumina’s

sequencing methods can also be used to predict therapeutic responses to targeted

therapies and personalized anticancer vaccines.

             44.   Illumina’s genetic sequencing technology also allows pregnant

women to screen their unborn children for genetic conditions. Genetic-



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sequencing-based techniques rely on tiny amounts of fetal DNA circulating in a

pregnant woman’s blood, known as circulating cell-free fetal DNA. Illumina’s

NGS platforms enable highly accurate testing of the fetal genome from only a

small sample of fetal DNA from the mother’s bloodstream.

                           THE PATENTS-IN-SUIT

            45.   The ’241 Patent (attached as Exhibit 2), entitled “Systems,

Methods, and Apparatuses To Image a Sample for Biological or Chemical

Analysis,” was filed on February 23, 2024, and duly and lawfully issued on

November 26, 2024. The ’241 Patent names Erik Williamson, Bryan Crane,

Patrick Leung, Drew Verkade and Mark T. Reed as inventors.

            46.   The ’781 Patent and Certificate of Correction (attached as

Exhibit 3), entitled “Systems, Methods, and Apparatuses To Image a Sample for

Biological or Chemical Analysis,” was filed on October 14, 2011, and duly and

lawfully issued on February 10, 2015. The ’781 Patent names Erik Williamson,

Bryan Crane, Patrick Leung, Drew Verkade and Mark Reed as inventors.

            47.   The ’130 Patent and Certificate of Correction (attached as

Exhibit 4), entitled “Systems, Methods, and Apparatuses To Image a Sample for

Biological or Chemical Analysis,” was filed on May 14, 2020, and duly and

lawfully issued on September 14, 2021. The ’130 Patent names Erik Williamson,

Bryan Crane, Patrick Leung, Drew Verkade and Mark Reed as inventors.



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            48.    The ’116 Patent and Certificate of Correction (attached as

Exhibit 5), entitled “Systems, Methods, and Apparatuses To Image a Sample for

Biological or Chemical Analysis,” was filed on April 5, 2022, and duly and

lawfully issued on July 11, 2023. The ’116 Patent names Erik Williamson, Bryan

Crane, Patrick Leung, Drew Verkade and Mark T. Reed as inventors.

            49.    The ’702 Patent and Certificate of Correction (attached as

Exhibit 6), entitled “Flowcell Cartridge with Floating Seal Bracket,” was filed on

September 6, 2024, and duly and lawfully issued on March 18, 2025. The ’702

Patent names David Elliott Kaplan, Anthony John de Ruyter, Richard Alan Kelley

and Ashish Kumar as inventors.

            50.    The ’028 Patent (attached as Exhibit 7), entitled “Flowcell

Cartridge with Floating Bracket,” was filed on February 11, 2025, and duly and

lawfully issued on June 10, 2025. The ’028 Patent names David Elliott Kaplan,

Anthony John de Ruyter, Richard Alan Kelley and Ashish Kumar as inventors.

             ELEMENT’S USE OF ILLUMINA TECHNOLOGY

            51.    Element was founded in 2017 by ex-Illumina employees who

had helped develop Illumina’s NGS technology. Element’s founder and CEO,

Molly He, was Illumina’s former Senior Director of Scientific Research. The other

two founders of Element are Mike Previte, a former Illumina Associate Principal




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Scientist, who is now Element’s CTO, and Matt Kellinger, a former Illumina Staff

Scientist, who is currently Element’s head of biochemistry.

             52.    Even though Element touted its promise to “disrupt” the genetic

sequencing space, Element operated in “stealth mode” for the first five years of its

existence. Until 2021, Element refused to disclose how key aspects of its

technology worked, repeatedly refusing requests for comment from interested

press. Even after emerging from stealth mode, Element has issued only vague

platitudes, like its goals of “improving signal-to-noise ratio at every stage in the

sequencing process” and “decentralizing” sequencing (things that Illumina’s

sequencing instruments already do).

             53.    Element hired employees from Illumina who possessed

extensive information about Illumina’s genetic sequencing products. Examples,

apart from Elements’ founders, are Logan Zinser, Illumina’s former Senior

Director of Finance, who joined Element in 2020 and is now Element’s Chief

Financial Officer, and Yaron Hakak, Illumina’s former Director of Corporate and

Business Development at Illumina, who joined Element in 2023 and is now

Element’s Senior Vice President of Corporate and Business Development.

             54.    In 2022, Element finally revealed the product it was

developing: an NGS machine that practices many of the innovative features of

Illumina’s patented MiSeq and MiniSeq products. As described below, Element’s



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AVITI sequencers are highly similar to Illumina’s sequencing instruments and

practice every limitation of the asserted claims of the Patents-in-Suit.

                   Element’s Infringement of Illumina’s Patents

             55.    Element designs, manufactures, uses and sells the AVITI line of

sequencing instruments. It launched the AVITI sequencer in 2022 and the AVITI

LT sequencer in 2023. In 2023, Element claims it exceeded 160 orders for its

infringing devices and associated products, generating more than $25 million in

revenue.

             56.    In April 2024, Element announced the AVITI24 sequencer

(collectively with the AVITI and AVITI LT, the “AVITI Systems”). Element is

taking preorders for the AVITI24 at the pre-order price in the U.S. of $424,000.

             57.    Element claims that the AVITI sequencer is “a next-generation

sequencing (NGS) system that provides scalable solutions for high-quality

sequencing.” (Ex. 8, AVITI System User Guide at 6.) The AVITI system is

shown below:




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(Ex. 9, AVITI System Specification Sheet (2024) at 1.)

             58.   Element describes the AVITI LT as “a low-throughput version

of AVITI.” (Ex. 10, Element, “Discover the AVITI family,”

https://www.elementbiosciences.com/products/aviti/family.) The AVITI LT

System is the same physical machine as the AVITI, but with software limitations

that prevent the AVITI LT from being used for the higher-throughput use cases for

which the AVITI system can be used. Element touts that the AVITI LT System

offers the “flexibility to upgrade to a full-throughput AVITI with a simple software

update.” (Ex. 11, Element, “AVITI Products,”

https://www.elementbiosciences.com/products/aviti#aviti-lt.) Because the two

systems are essentially identical, the AVITI LT infringes the Patents-in-Suit in the

same manner as the AVITI System.

             59.   Element describes the AVITI24 system as a benchtop platform

for “high-quality, affordable sequencing and in situ multiomics.” (Ex. 12,

                                         22
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Element, “AVITI24,” https://www.elementbiosciences.com/products/aviti24.)

Like the AVITI, the AVITI24 uses a dual flow cell design. The AVITI24 system

is shown below.




(Ex. 13, AVITI24 System Specification Sheet at 1.)

            60.    Element sells several lines of products that include flow cells

for use in the AVITI Systems. These products include the Cloudbreak and Trinity

lines of sequencing kits. Element also sells the Teton slide and flow cell assembly

kit, which include components that can be assembled into a flow cell for use in the

AVITI24.

            61.    The Cloudbreak line of sequencing kits includes the

Cloudbreak Freestyle sequencing kits, the Cloudbreak sequencing kits and



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Cloudbreak UltraQ sequencing kits (collectively, the “Cloudbreak Sequencing

Kits”). The Cloudbreak Sequencing Kits are compatible with all of the AVITI

Systems. (Ex. 14, Cloudbreak Sequencing User Guide at 1 (stating that the guide

is for use with the Cloudbreak, Cloudbreak Freestyle and Cloudbreak UltraQ

sequencing kits and the AVITI, AVITI LT and AVITI24 systems).) Each of the

Cloudbreak Sequencing Kits include flow cells, plastic cartridges and consumables

for use with the AVITI Systems “to sequence libraries on an AVITI System or an

AVITI24 System.” (Ex. 14, Cloudbreak Sequencing User Guide at 4.) The

Cloudbreak Sequencing Kits each contain an equivalent flow cell and plastic

cartridge, which is shown below.




                                       24
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(Ex. 15, “Cloudbreak™ Sequencing Kits,”
https://www.elementbiosciences.com/products/cloudbreak.)

             62.   Element’s Cloudbreak Freestyle sequencing kits (which include

flow cells and plastic cartridges) for the AVITI are designed so that sample

libraries prepared for use on Illumina’s sequencing systems can be used directly

with the AVITI. (Ex. 16, Element AVITI System Brochure at 5.)

             63.   Element’s Trinity sequencing kits are used for targeted

sequencing. The Trinity sequencing kits are compatible with all of the AVITI

Systems. (Ex. 17, Trinity Sequencing User Guide at 1 (stating that the guide is for

use with Trinity sequencing kits and the AVITI, AVITI LT and AVITI24

systems).) Each of the Trinity sequencing kits includes a flow cell, a buffer bottle,

a reagent cartridge, the library loading buffer and a sequencing reagent. (Ex. 17,

Trinity Sequencing User Guide at 4–5.) The Trinity sequencing kits each contain

the same flow cell and plastic cartridge, which are shown below.




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(Ex. 18, “Trinity,” https://www.elementbiosciences.com/products/trinity.)

             64.   Element’s Teton slide and flow cell assembly kits contain

components that the user can assemble into a flow cell and plastic cartridge.

Specifically, a flow cell may be assembled using the glass slide in the Teton slide

kit and other components in the Teton flow cell assembly kit using assembly tools

called the Teton flow cell aligner and Teton flow cell sealer. (Ex. 19, Teton

CytoProfiling User Guide at 19.) A diagram of the assembled flow cell is shown

below.




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(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotations in original).)

             65.    Element’s Teton kits are compatible with the AVITI24. (Ex.

19, Teton CytoProfiling User Guide at 1 (stating that the guide is for use with

Teton CytoProfiling kits and the AVITI24).) Specifically, Element’s Teton kits are

consumables for use with the AVITI24 to “perform[] avidite base chemistry (ABC)

sequencing within cell samples to detect numerous cellular RNAs and proteins.”

(Ex. 19, Teton CytoProfiling User Guide at 5.)

             66.    The Cloudbreak Sequencing Kits, the Trinity sequencing kits,

and the Teton slide and flow cell assembly kits (collectively, the “Element

Sequencing Kits”) all include a flow cell and a plastic cartridge with equivalent

designs (or, in the case of the Teton slide and flow cell assembly kits, the



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components to assemble a flow cell and a plastic cartridge with the same design).

Accordingly, Illumina’s allegations regarding the flow cell and the plastic cartridge

described in the AVITI Systems or in any of the Element Sequencing Kits apply

equally to the flow cell and the plastic cartridge contained in the other products.

             67.    Element has infringed and continues to infringe the Patents-in-

Suit by making, using, offering to sell and selling within the United States the

AVITI Systems and Element Sequencing Kits.

             COUNT I: INFRINGEMENT OF THE ’241 PATENT

             68.    Illumina incorporates by reference paragraphs 1–67 as if fully

set forth herein.

             69.    Element has infringed at least Claims 1, 2–3, 7–12, 14, 15–16,

17 and 18–20 of the ’241 Patent in violation of 35 U.S.C. § 271(a), by making,

using, offering to sell and selling within the United States the inventions claimed in

the ’241 Patent.

             70.    Independent Claim 1 of the ’241 Patent recites:

             A system comprising:

             an optical system comprising an excitation light source, an imaging
             detector, and an optical train;

             a device holder to orient a fluidic device for imaging by the optical
             system, the fluidic device comprising a flow cell, the device holder
             comprising:




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             a support structure including a loading region to receive the fluidic
             device, the loading region including a base surface to have the fluidic
             device positioned thereon, and

             a rotatable cover that is coupled to the support structure and moveable
             about an axis between an open position and a closed position, the
             cover movable to the open position to permit the fluidic device to be
             inserted into and removed from the loading region and movable to the
             closed position to secure the fluidic device within the loading region
             for imaging, wherein the cover is biased toward the open position, and

             a latch to releasably hold the cover in the closed position;

             a fluid storage system comprising:

             an enclosure having a cavity,

             a door openable to provide access to the cavity,

             a transport platform holding an array of sipper tubes, each sipper tube
             of the array of sipper tubes includes a distal portion positioned to be
             inserted into a component well of a reaction component tray within
             the cavity, and

             a drive motor operatively coupled to the transport platform, the
             transport platform moveable by the drive motor to position the array
             of sipper tubes at least partially within the cavity; and

             a casing enclosing the optical system, the device holder, and the fluid
             storage system therein.

(Ex. 2, ’241 Patent at 53:36–54:4.)

             71.   “A system comprising.” The AVITI Systems each are systems

as recited in Claim 1 of the ’241 Patent.

             72.   “The AVITI System is a next-generation sequencing (NGS)

system” that uses a dual-flow cell system. (Ex. 8, AVITI System User Guide at 6.)

As shown below, the AVITI Specification Sheet describes the AVITI system as


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including a touchscreen monitor (A), nests holding two flow cells (B), an LED

display (C), reagents (D) and waste bottles (E):




(Ex. 20, AVITI System Specification Sheet (2023) at 4.)

             73.   The AVITI LT system is the same physical machine as the

AVITI, but with software limitations that prevent the AVITI LT from being used

for higher-throughput use cases. The AVITI LT has no documentation or manuals

of its own, and instead directs the user to the documentation to the AVITI

instrument. (See, e.g., Ex. 8, AVITI System User Guide at 1 (stating that the guide

is for use with both the “AVITI System” and the “AVITI System LT”).)

             74.   The AVITI24 system is a “multidimensional genomics

instrument.” (Ex. 21, AVITI24 System User Guide at 6.) As shown below, the

AVITI24 includes a touchscreen, a nest bay and pump, reagent and waste bays:




                                         30
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(Ex. 21, AVITI24 System User Guide at 7.)

              75.   “an optical system comprising an excitation light source, an

imaging detector, and an optical train.” Element’s AVITI Systems include an

optical system with an excitation light source, an imaging detector and an optical

train (i.e., an arrangement of optical components, such as lenses and mirrors to

guide the light), as recited in Claim 1 of the ’241 Patent. A 2023 publication

authored by current and former employees of Element Biosciences describes these

components:

              Avidity sequencing was performed on the AVITI
              commercial sequencing system. Briefly, the instrument
              is a four-color optical system with two excitation lines of
              approximately 532 and 635 nm. The four-color system is
              created using an objective lens, multiple tube lenses and
              multiple cameras for simultaneous imaging of four
              spectrally separated colors.

(Ex. 22, Arslan, S. et al., Sequencing by avidity enables high accuracy with low

reagent consumption, Nature Biotechnology 42:132–38, at 134 (2023) (the

“Element 2023 Publication”) (emphases added).) The “two excitation lines”


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described in the publication are emitted by excitation light sources, the cameras are

imaging detectors, and the multiple tube lenses and the objective lens are included

in an optical train. The AVITI24 contains similar components. It “contains a

Class 4 laser,” which is an excitation light source. (Ex. 21, AVITI24 System User

Guide at 59.) During sequencing on the AVITI24, “a camera and four tube lenses

above the nest image the flow cell in four channels.” (Id. at 8.) The camera is an

imaging device, and the four tube lenses are included in an optical train because

they are a collection of components to guide light.

              76.   That the AVITI Systems include an optical system is further

supported by the disclosures of Element’s patents and abandoned patent

applications that purportedly cover the AVITI Systems.2 These include U.S. Patent

No. 11,459,608 (the “’608 Patent”). (Ex. 24, ’608 Patent.) The ’608 Patent

discloses an excitation light source (Excitation Beams 1 and 2 in the image below),

an imaging detector (Imaging Sensors 1–4 in the image below) and an optical train

(the tube lens in the image below, which are components of an optical train

because they direct the excitation light sources).




2
    See Ex. 23, Element AVITI System Workflow Guide at 2.


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(Ex. 24, ’608 Patent, Fig. 18.)

             77.    “a device holder to orient a fluidic device for imaging by the

optical system, the fluidic device comprising a flow cell.” Element’s AVITI

Systems include a device holder as recited in Claim 1 of the ’241 Patent.

Specifically, the AVITI Systems contain two nests within a nest bay; as discussed

below, each nest and lid is a device holder. The AVITI System Workflow Guide

states that “[t]he nest bay includes two nests, one for each side. Each nest holds

one flow cell secured with a lid.” (Ex. 23 at 13 (emphasis added); see also Ex. 21,

AVITI24 System User Guide at 8 (“The nest bay includes two nests, one for each

side, and each nest holds one flow cell.” (emphasis added)).) The nest and lid (the

device holder) guide the placement of the flow cell and its plastic cartridge

(together, the fluidic device). That is, the device holder orients a fluidic device for

imaging by the optical system. The nests with loaded flow cells in plastic


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cartridges (labeled “B”)—the fluidic devices—are shown in these images from

Element’s product guides:




(Ex. 23, AVITI System Workflow Guide at 13.)




(Ex. 21, AVITI24 System User Guide at 8.)

             78.   “a support structure including a loading region to receive the

fluidic device, the loading region including a base surface to have the fluidic

device positioned thereon.” Element’s AVITI Systems have a support structure

that includes a loading region as recited in Claim 1 of the ’241 Patent. The nest

(the support structure) has a loading area (a loading region) that includes three

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silver pins. (See Ex. 23, AVITI System Workflow Guide at 13 (“Three silver pins

fit into three corresponding holes on the flow cell cartridge, ensuring proper

alignment and seating.”); id. at 52 (directing the user to load the flow cell and

plastic cartridge into the nest by “plac[ing] the flow cell over the three registration

pins on the nest”); see also Ex. 21, AVITI24 System User Guide at 8 (“To ensure

proper alignment, three silver pins on the loading area fit into three corresponding

holes on the flow cell cartridge.”).) The nest (the support structure) and its loading

area (the loading region) are shown in the diagram below.


                                                                           nest with
                                                                           lid closed




                            loading
                            area




                         silver pins

     nest with
     lid open


(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

                 79.   The loading region includes a base surface to have the fluidic

device positioned thereon. The base surface is shown in the image below. When


                                            35
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the flow cell and plastic cartridge (the fluidic device) are loaded into the nest, the

three silver pins extend through apertures in the plastic cartridge for alignment on

top of the base surface.




                base
                surface




                                                           loading
                                                           area



(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             80.    “a rotatable cover that is coupled to the support structure and

moveable about an axis between an open position and a closed position, the cover

movable to the open position to permit the fluidic device to be inserted into and

removed from the loading region and movable to the closed position to secure the

fluidic device within the loading region for imaging.” Element’s AVITI Systems

have a rotatable cover as recited in Claim 1 of the ’241 Patent. “Each nest holds

one flow cell secured with a lid. A button unlatches and opens the lid to a 40°

angle. A tab closes the lid and secures the flow cell.” (Ex. 23, AVITI System

Workflow Guide at 13; see also Ex. 21, AVITI24 System User Guide at 8 (“A


                                          36
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hinged flow cell lid secures the flow cell in place. A button on each nest unlatches

and opens the hinged lid to a 40° angle.”).) The nest lid, which Element typically

calls a “flow cell lid,” is a rotatable cover. (Ex. 8, AVITI System User Guide at 8

(“A hinged flow cell lid secures the flow cell in place.”); Ex. 21, AVITI24 System

User Guide at 8 (same).) It is coupled to the nest (the support structure). The

image below depicts the nest lid (the rotatable cover) coupled to the nest (the

support structure), which includes the loading area and the three silver pins.


                                                                 nest lid




                                                   loading
                                                   area



        silver pins




(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

              81.     The nest lid (the rotatable cover) moves about an axis between

an open position and a closed position. When the nest lid is in the open position,

the fluidic device—the flow cell and plastic cartridge—may be inserted into and


                                           37
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removed from the loading region. The nest lid (the rotatable cover) may then be

moved to the closed position. When the rotatable cover is closed, the fluidic

device is secured within the loading area for imaging. (Ex. 8, AVITI System User

Guide at 8 (“A hinged flow cell lid secures the flow cell in place. . . . During a run,

a camera and four tube lenses above the nest image the flow cell in four

channels.”); Ex. 21, AVITI24 System User Guide at 8 (same).) The cover in its

open and closed positions and the axis of rotation of the cover are shown in the

image below.


     rotatable cover in the
                                                     rotatable cover in the
     open position
                                                     closed position




   axis of
   rotation
                                                                              path of
                                                                              rotation

(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

              82.    “wherein the cover is biased toward the open position.”

Element’s AVITI Systems’ cover is biased toward the open position as recited in


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Claim 1 of the ’241 Patent. The AVITI System Workflow Guide provides that “[a]

button unlatches and opens the lid to a 40° angle. A tab closes the lid and secures

the flow cell.” (Ex. 23, AVITI System Workflow Guide at 13; see also Ex. 21,

AVITI24 System User Guide at 8 (“A button on each nest unlatches and opens the

hinged lid to a 40° angle.”); Ex. 23, AVITI System Workflow Guide at 52 (“Press

the button to the left of the nest to open the lid. . . . Lower the tab on the right side

of the lid until the lid snaps into place.”).) Because the nest lid (the rotatable

cover) automatically opens to the 40° angle when it is not fully latched in the

closed position, the nest lid is “biased” toward the open position. As shown in the

images below, a spring in the rotatable cover biases the cover toward the open

position.




                        spring




                                           39
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(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             83.    “a latch to releasably hold the cover in the closed position.”

Element’s AVITI Systems include a latch as recited in Claim 1 of the ’241 Patent.

“A button unlatches and opens the lid to a 40° angle. A tab closes the lid and

secures the flow cell.” (Ex. 23, AVITI System Workflow Guide at 13; see also id.

at 52 (“Press the button to the left of the nest to open the lid. . . . Lower the tab on

the right side of the lid until the lid snaps into place.”); Ex. 21, AVITI24 System

User Guide at 8 (“A button on each nest unlatches and opens the hinged lid to a

40° angle.”).) The figure below shows the latch releasably holding the nest lid

(rotatable cover) in the closed position.

                                                        cover latched in the
                                                        closed position
                                  latch




                                            40
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                                        1060



(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             84.    “a fluid storage system comprising.” Element’s AVITI

Systems include a fluid storage system, as recited in Claim 1 of the ’241 Patent.

The AVITI Systems store and distribute fluids (reagents and washes) in bottles and

cartridges. (See Ex. 8, AVITI System User Guide at 9 (“Each pump bay contains

two pumps that control the flow of liquid. . . . Each reagent bay holds a buffer

bottle and cartridge basket that contains a cartridge or a wash tray, depending on

whether the system is sequencing or washing. . . . When priming starts, sippers

descend into the bay, pierce the foil seals covering the cartridge wells, and aspirate

reagents from the bottom of each well.”); Ex. 21, AVITI24 System User Guide at 9

(same).)

             85.    “an enclosure having a cavity.” Element’s AVITI Systems

have an enclosure as recited in Claim 1 of the ’241 Patent. The AVITI Systems

have an enclosure on each side, which encompasses at least the reagent bay. (Ex.

8, AVITI System User Guide at 7 (“Side A and B each include a dedicated pump

bay and reagent bay enclosed with bay doors.”); Ex. 21, AVITI24 System User

Guide at 7 (same).) The reagent bay on each side is denoted using the dashed red

lines in the images below.




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(Ex. 8, AVITI System User Guide at 7 (green annotation in original, red
annotations added).)




(Ex. 21, AVITI24 System User Guide at 7 (green annotation in original, red
annotations added).)

            86.    “Each reagent bay holds a buffer bottle and cartridge basket that

contains a cartridge or a wash tray, depending on whether the system is sequencing

or washing.” (Ex. 8, AVITI System User Guide at 9; Ex. 21, AVITI24 System

User Guide at 9 (same).) The enclosure (which includes at least the reagent bay)

makes up a single cavity. An opening to this cavity is shown in the image below.




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                            cavity opening




(Ex. 23, AVITI System Workflow Guide at 15 (annotated).)

            87.     An unboxing video of the AVITI instrument shows the

enclosure and the cavity:

                  cavity opening                   enclosure




(Ex. 26, “behind-the-scenes moment of unboxing and installing @ElemBio
AVITI,” https://x.com/TrendBio/status/1772752893663224019 at 1:00, 1:03 (Mar.
26, 2024) (annotated).)




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                                                            opening of
                                                            cavity




(Ex. 21, AVITI24 System User Guide at 31 (annotated).)

             88.   “a door openable to provide access to the cavity.” Element’s

AVITI Systems have the door as recited in Claim 1 of the ’241 Patent. The reagent

bay doors are doors that are openable to provide access to the cavity. The AVITI

System Workflow Guide directs the user to “[k]eep the reagent bay doors closed

to maintain refrigeration, which chills reagents.” (Ex. 23, AVITI System

Workflow Guide at 14 (emphasis added); see also id. at 66 (“When prompted,

open the reagent bay door.” (emphasis added)).) The AVITI24 System User

Guide similarly directs the user to “[k]eep the reagent bay doors closed to

maintain the refrigeration, which chills reagents.” (Ex. 21, AVITI24 System User

Guide at 9 (emphasis added).) The door, in the opened configuration, is shown in

the images below. The door can be closed when the cartridge or bottle is pushed

into the cavity.




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                                                                     cavity



         door




(Ex. 23, AVITI System Workflow Guide at 15 (annotated).)

                                                            cavity


 door




(Ex. 21, AVITI24 System User Guide at 9 (annotated).)

             89.    “a transport platform holding an array of sipper tubes, each

sipper tube of the array of sipper tubes includes a distal portion positioned to be

inserted into a component well of a reaction component tray within the cavity.”

Element’s AVITI Systems include a transport platform holding an array of sipper

tubes as recited in Claim 1 of the ’241 Patent. The system has an array of sipper

tubes. The AVITI’s sipper tubes are positioned to be inserted into a component

well of a reaction component tray within the cavity: “When priming starts, sippers

descend into the [reagent] bay, pierce the foil seals covering the [sequencing]


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cartridge wells, and aspirate reagents from the bottom of each well. The sippers

continue to aspirate reagents throughout the run. Functioning similarly for a wash,

the sippers aspirate wash solution instead of reagents.” (Ex. 23, AVITI System

Workflow Guide at 14 (emphasis added); see also Ex. 21, AVITI24 System User

Guide at 9 (describing a similar set of sipper tubes which also “descend into the

[reagent] bay”).)

             90.    To move up and down in unison, the sipper tubes in the AVITI

Systems are attached to a transport platform. The transport platform moves up and

down, causing the sipper tubes to either descend into the reagent bay where the

sequencing cartridge (the reaction component tray) is received or ascend toward a

withdrawn position above where the sequencing cartridge is received. Because the

sippers descend into the reagent bay, each sipper tube of the array of sipper tubes

includes a distal portion (the downward end that aspirates the fluid) positioned to

be inserted into the sequencing cartridge wells (the component well) of a

sequencing cartridge (the reaction component tray) within the cavity.

             91.    “a drive motor operatively coupled to the transport platform, the

transport platform moveable by the drive motor to position the array of sipper

tubes at least partially within the cavity.” Element’s AVITI Systems include a

drive motor as recited in Claim 1 of the ’241 Patent. The AVITI Systems include

an array of sipper tubes, which aspirate (remove) the reagents (fluids) from a



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sequencing cartridge in the reagent bay (part of the cavity). (Ex. 23, AVITI

System Workflow Guide at 14 (“When priming starts, sippers descend into the

[reagent] bay, pierce the foil seals covering the [sequencing] cartridge wells, and

aspirate reagents from the bottom of each well.”); see also Ex. 21, AVITI24

System User Guide at 9 (same).) For the sippers to descend into the reagent bay in

the AVITI Systems, a drive motor is operatively coupled to the transport platform

holding the array of sipper tubes. Also, for the tubes to “pierce the foil seals

covering the sequencing cartridge wells, and aspirate reagents from the bottom of

each well” in the AVITI Systems, the drive motor moves the transport platform to

position the sipper tubes in the sequencing cartridge wells, which are located in the

fluid storage system cavity. Thus, in the AVITI Systems, the drive motor moves

the array of sipper tubes at least partially within the cavity.

             92.    “a casing enclosing the optical system, the device holder, and

the fluid storage system therein.” Element’s AVITI Systems have a casing as

recited in Claim 1 of the ’241 Patent. “Exterior shells enclose the instrument to

maintain internal temperatures, exclude dust and other external elements, and

protect operators from exposure to lasers, mechanical moving parts, and other

internal hazards.” (Ex. 23, AVITI System Workflow Guide at 12.) The below

images show the casing that encloses the optical system (see supra ¶¶ 75–76), the

fluidic device holder (see supra ¶ 77) and the fluid storage system (see supra ¶ 84):



                                           47
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(Ex. 27, “AVITI – Specifications,” (June 6, 2023, 10:41 PM),
https://www.elementbiosciences.com/products/aviti/specs
[https://web.archive.org/web/20230606224136/https://www.elementbiosciences.co
m/products/aviti/specs].)




                                     48
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(Ex. 28, “AVITI24 System and Specifications,”
https://www.elementbiosciences.com/products/aviti24/platform (showing the
casing for the AVITI24).)

             93.   The exterior shells are a casing enclosing the optical system, the

device holder and the fluid storage system therein. (Ex. 23, AVITI System

Workflow Guide at 11 (“Internally, a camera and four tube lenses image the flow

cell in four channels.” (emphasis added)); Ex. 21, AVITI24 System User Guide at

6 (“Exterior shells enclose the instrument to protect the operator from laser light

exposure and mechanical parts.” (emphasis added)); Ex. 23, AVITI System

Workflow Guide at 13 (“The nest bay includes two nests, one for each side.”

(emphasis added)); Ex. 21, AVITI24 System User Guide at 8 (same); Ex. 8, AVITI

System User Guide at 7 (“Side A and B each include a dedicated pump bay and

reagent bay enclosed with bay doors.” (emphasis added)); Ex. 21, AVITI24

System User Guide at 7 (same).)

             94.   As shown above, the AVITI Systems satisfy each and every

limitation of Claim 1 of the ’241 Patent. The AVITI Systems also satisfy each and

every limitation of at least Claims 2–3, 7–12, 14, 15–16, 17 and 18–20.

             95.   In violation of 35 U.S.C. § 271(a), Element has infringed the

’241 Patent by making, using, offering to sell and selling the AVITI Systems.

             96.   In addition to directly infringing, in violation of 35 U.S.C.

§ 271(b), Element has induced and continues to induce its customers to directly



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infringe the ’241 Patent by taking actions that include, but are not limited to,

advertising its products and services and their infringing uses, including on

Element’s website; establishing distribution channels for these products in the

United States; drafting, distributing or making available product specifications,

instructions or user manuals for the products to Element’s customers and

prospective customers and/or providing technical support or other services for the

products to Element’s customers and prospective customers. For example, the

AVITI product guides direct the user to perform infringing uses of the AVITI

Systems, including loading a flow cell into the nest (Ex. 23, AVITI System

Workflow Guide at 52; Ex. 21, AVITI24 System User Guide at 8), thereby making

use of the “device holder to orient a fluidic device,” and loading reagents and

fluids into the reagent bay (Ex. 23, AVITI System Workflow Guide at 51–52; Ex.

21, AVITI24 System User Guide at 30–32), thereby making use of the “fluid

storage system.” Element knows that when Element’s customers use the AVITI

Systems as directed by Element, Element’s customers are directly infringing the

’241 Patent.

               97.   Element has been on notice of the infringement alleged in this

Count since on or around the issuance of the ’241 Patent on November 26, 2024.

Alternatively, Element has been on notice of the ’241 Patent at least since May 15,

2025, when Illumina filed and served on Element a complaint alleging that



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Element infringes the ’241 Patent. Element has committed acts of infringement

willfully and intentionally after notice of infringement.

             98.    Illumina has been damaged by the infringement alleged in this

Count and will suffer irreparable harm absent an injunction.

             COUNT II: INFRINGEMENT OF THE ’781 PATENT

             99.    Illumina incorporates by reference paragraphs 1–67 as if fully

set forth herein.

             100. Element has infringed at least Claims 30, 31, 38–39 and 42–43

of the ’781 Patent in violation of 35 U.S.C. § 271(a) by making, using, offering to

sell and selling within the United States the inventions claimed in the ’781 Patent.

             101. Independent Claim 30 of the ’781 Patent recites:

             A fluidic device holder configured to orient a fluidic device with
             respect to mutually perpendicular X, Y, and Z-axes, the device holder
             comprising:

             a support structure configured to receive a fluidic device, the support
             structure including a base surface that faces in a direction along the Z-
             axis and is configured to have the fluidic device positioned thereon;

             a plurality of reference surfaces facing in respective directions along
             an XY-plane;

             an alignment assembly comprising an actuator and a movable locator
             arm that is operatively coupled to the actuator, the locator arm having
             an engagement end, the actuator moving the locator arm between
             retracted and biased positions to move the engagement end away from
             and toward the reference surfaces, wherein the engagement end
             presses, in a direction along the XY plane, the fluidic device against
             the reference surfaces when the locator arm is in the biased position
             such that the fluidic device is held between the engagement end and

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             the reference surfaces in a fixed position with respect to the support
             structure, wherein the locator arm includes a finger, the finger
             including the engagement end.

(Ex. 3, ’781 Patent at 55:19–40.)

             102. “A fluidic device holder configured to orient a fluidic device

with respect to mutually perpendicular X, Y, and Z-axes.” Element’s AVITI

Systems include the fluidic device holder recited in Claim 30 of the ’781 Patent.

Specifically, the AVITI Systems contain two nests within a nest bay. (Ex. 23,

AVITI System Workflow Guide at 13 (“The nest bay includes two nests, one for

each side.”); Ex. 21, AVITI24 System User Guide at 8 (same).) Each nest has a

nest lid (which Element calls a flow cell lid); as discussed below, together each

nest and nest lid is a fluidic device holder. (Ex. 8, AVITI System User Guide at 8

(“A hinged flow cell lid secures the flow cell in place.”); Ex. 21, AVITI24 System

User Guide at 8 (same).)

             103. The ’781 Patent states that “a ‘fluidic device’ is an apparatus

that includes one or more flow channels that direct fluid in a predetermined manner

to conduct desired reactions.” (Ex. 3, ’781 Patent at 12:13–15.) Each flow cell

and plastic cartridge of the AVITI Systems is a fluidic device. (Ex. 8, AVITI

System User Guide at 13 (“The flow cell is a two-lane glass substrate encased in a

plastic cartridge. . . . Library and reagents enter the flow cell through inlet ports

and exit as waste through outlet ports.”); Ex. 21, AVITI24 System User Guide at



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13 (same).) Each nest and nest lid is a fluidic device holder that holds a flow cell

and plastic cartridge (the fluidic device). (Ex. 23, AVITI System Workflow Guide

at 13 (“Each nest holds one flow cell secured with a lid.”); see also Ex. 21,

AVITI24 System User Guide at 8 (“The nest bay includes two nests, one for each

side, and each nest holds one flow cell.”).)

             104. The two nests and their nest lids (the fluidic device holders),

each of which can receive a flow cell and plastic cartridge (the fluidic device), are

shown below in diagrams from Element’s user guides for the accused AVITI

Systems.




(Ex. 23, AVITI System Workflow Guide at 13.)




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(Ex. 21, AVITI24 System User Guide at 8.)

             105. The nest and nest lid (the fluidic device holder) are configured

to orient the fluidic device along the X, Y and Z-axes. Specifically, the AVITI

System Workflow Guide states that the nest has “[a] wall [that] encircles the

loading area. Three silver pins fit into three corresponding holes on the flow cell

cartridge, ensuring proper alignment and seating.” (Ex. 23, AVITI System

Workflow Guide at 13 (emphasis added); see also Ex. 21, AVITI24 System User

Guide at 8 (“A hinged flow cell lid secures the flow cell in place. . . . To ensure

proper alignment, three silver pins on the loading area fit into three corresponding

holes on the flow cell cartridge.” (emphasis added)).) In addition, the base surface

and the lid of the nest (in a closed position) are configured to orient the fluidic

device in the Z-direction. The wall, three silver pins, base surface and lid orient

the fluidic device with respect to mutually perpendicular X, Y and Z-axes, as

shown in the image below.



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                                 Y-axis   Z-axis                          closed nest lid
  wall


                                                        X-axis

                                                     base surface




         silver pins
                                                                    orientated fluidic device


(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

                 106. “a support structure configured to receive a fluidic device.”

Element’s AVITI Systems have a support structure as recited in Claim 30 of the

’781 Patent. Specifically, the nest (the support structure) includes the loading area

and three silver pins (show in the image below). The nest (the support structure) is

configured to receive the flow cell and plastic cartridge (the fluidic device). (See

Ex. 23, AVITI System Workflow Guide at 13 (“Three silver pins fit into three

corresponding holes on the flow cell cartridge, ensuring proper alignment and

seating.”); id. at 52 (directing the user to load the flow cell into the nest by

“plac[ing] the flow cell over the three registration pins on the nest”); Ex. 21,




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AVITI24 System User Guide at 8 (“To ensure proper alignment, three silver pins

on the loading area fit into three corresponding holes on the flow cell cartridge.”).)




                         loading
                         area




      silver pins




(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

              107. “the support structure including a base surface that faces in a

direction along the Z-axis and is configured to have the fluidic device positioned

thereon.” Element’s AVITI Systems have a support structure including a base

surface as recited in Claim 30 of the ’781 Patent. The loading area of the nest (the

support structure) includes a surface (the base surface) as shown in the image

below. The surface faces in a direction along the Z-axis, as shown in the image.

The surface is configured to have the fluidic device positioned thereon: when the

flow cell and the plastic cartridge (the fluidic device) are loaded into the nest, the

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three silver pins extend through apertures in the frame of the plastic cartridge for

alignment on top of the base surface.




        base                                        Z-axis
        surface




                                                                    loading
                                                                    area




(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             108. “a plurality of reference surfaces facing in respective directions

along an XY-plane.” The ’781 Patent discloses that, in one embodiment, the

“reference surfaces” are the surfaces facing in the XY-plane of three cylindrical

protrusions from the loading region, as depicted in Figure 18, which is replicated

below. In this embodiment, “[t]he loading region 422 may be partially defined by

the base surface 430 and the reference surfaces of the alignment members 431-

433.” (Ex. 3, ’781 Patent at 30:33–36.) In the embodiment depicted below, the

alignment members are pins protruding from the loading region.


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                                                           alignment
                                                           members




(Ex. 3, ’781 Patent at Fig. 18 (annotated).)

             109. The ’781 Patent further discloses that, in this embodiment,

“[t]he alignment members 431-433 have corresponding reference surfaces that are

configured to engage the flow cell 200 and facilitate positioning the flow cell 200

for imaging. For example, the reference surfaces of the alignment members 431–

433 may face in respective directions along the XY-plane and, as such, may be

configured to limit movement of the flow cell 200 along the XY-plane.” (Ex. 3,

’781 Patent at 30:25–32.) In other words, in this embodiment, the faces of the


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alignment members in the XY-plane that limit movement of the flow cell in that

plane are “reference surfaces.”

             110. Element’s AVITI Systems include a plurality of reference

surfaces facing in respective directions along an XY-plane, as recited in Claim 30

of the ’781 Patent. Element’s AVITI Systems include the same plurality of

reference surfaces as the embodiment in Figure 18 of the ’781 Patent. Each nest in

the AVITI Systems comprises three silver pins that fit into corresponding holes in

the plastic cartridge housing the flow cell (together, the fluidic device), as shown in

the image below. These silver pins limit the movement of the fluidic device along

the XY-plane. (See Ex. 23, AVITI System Workflow Guide at 13 (“Three silver

pins on the loading area fit into three corresponding holes on the flow cell

cartridge, ensuring proper alignment and seating.”); Ex. 21, AVITI24 System User

Guide at 8 (“To ensure proper alignment, three silver pins on the loading area fit

into three corresponding holes on the flow cell cartridge.”).) These faces of the

three silver pins (i.e., the surfaces that make up the round sides of the pins, as

opposed to their pointed tops) are therefore a plurality of reference surfaces facing

in respective directions along an XY-plane.




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   silver                     Y-axis
   pins


                                                                 X-axis

                                       XY-plane




(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             111. “an alignment assembly comprising an actuator and a movable

locator arm that is operatively coupled to the actuator, the locator arm having an

engagement end, the actuator moving the locator arm between retracted and biased

positions to move the engagement end away from and toward the reference

surfaces.” Element’s AVITI Systems have an alignment assembly as recited in

Claim 30 of the ’781 Patent. According to Element’s AVITI product guides, each



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nest contains a nest lid coupled to a mechanism that secures the fluidic device.

(Ex. 23, AVITI System Workflow Guide at 13 (“A tab closes the lid and secures

the flow cell.” (emphasis added)); Ex. 21, AVITI24 System User Guide at 8 (“A

hinged flow cell lid secures the flow cell in place.”).) In a video demonstration of

the AVITI system, when the operator closes the nest lid, the flow cell and plastic

cartridge (the fluidic device) shift to the right (in the direction of the X-axis), as

shown by the two screenshots in the image below.


 closing lid
 moves the
 fluidic
 device                         X-axis                              X-axis
 along X-
 axis




                                                               increased gap
                                                               with wall



(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01, 5:06 (July 21, 2022)
(annotated).)

               112. In the AVITI Systems, the change in the position of the fluidic

device along the X-axis upon closing the lid involves the presence of an actuator

applying a force to the fluidic device. The fluidic device shifts position along the

X-axis when the nest lid is closed, demonstrating that the actuator is operatively

coupled to another component—a movable locator arm—that moves the fluidic

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device along the X-axis. In the AVITI Systems, the change in the position of the

fluidic device along the X-axis upon closing of the nest lid means that the locator

arm has a surface that pushes against the flow cell—the “engagement end.” That

change in position in the AVITI Systems means that the actuator moves the locator

arm between retracted (i.e., not pressing against the fluidic device) and biased (i.e.,

pressing against the fluidic device) positions to move the engagement end away

from and toward the faces of at least some of the three silver pins, the reference

surfaces. In the AVITI Systems, the fluidic device moves as shown in the video

because when the locator arm is in the biased position it exerts a force on the

fluidic device along the X-axis.

             113. “wherein the engagement end presses, in a direction along the

XY plane, the fluidic device against the reference surfaces when the locator arm is

in the biased position such that the fluidic device is held between the engagement

end and the reference surfaces in a fixed position with respect to the support

structure.” The engagement end of the locator arm in Element’s AVITI Systems

presses the fluidic device against the reference surfaces as recited in Claim 30 of

the ’781 Patent. According to Element’s product guides, closing the lid secures the

flow cell and plastic cartridge (together, the fluidic device). (Ex. 23, AVITI

System Workflow Guide at 13 (“A tab closes the lid and secures the flow cell.”

(emphasis added)); Ex. 21, AVITI24 System User Guide at 8 (“A hinged flow cell



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lid secures the flow cell in place.”).) In the video demonstration of the AVITI

system, when the operator closes the nest lid, the fluidic device shifts to the right

(in the direction of the X-axis), as shown by the two screenshots in the image

below.




 closing
 lid moves                            X-axis                             X-axis
 the fluidic
 device in
 X-
 direction

                                                 increased
                                                 gap with
                                                 wall

(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01, 5:06 (July 21, 2022)
(annotated).)

               114. The change in the position of the fluidic device along the X-

axis upon closing of the nest lid shows that the engagement end of the locator arm

presses, in the X direction, the fluidic device against the faces of at least some of

the three silver pins (the reference surfaces) when the locator arm is in the biased

position (here, pressing against the fluidic device with a force along the X-axis).

The fluidic device is held between the engagement end and the reference surfaces

in a fixed position with respect to the nest (the support structure) because closing

the nest lid places the locator arm in a biased position, causing it to press the

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fluidic device against the faces of at least some of the three silver pins (reference

surfaces).

             115. “the locator arm includes a finger, the finger including the

engagement end.” The locator arm in Element’s AVITI Systems includes a finger

as recited in Claim 30 of the ’781 Patent. In mechanical engineering, a finger is a

projecting machine part. The locator arm in the AVITI Systems has a finger to

make contact with the fluidic device to exert a biasing force pressing the fluidic

device against the faces of at least some of the three silver pins (the reference

surfaces). This finger includes the engagement end, which, in the AVITI Systems,

is the part of the locator arm that presses against the fluidic device to ensure proper

alignment.

             116. As shown above, the AVITI Systems satisfy each and every

limitation of Claim 30 of the ’781 Patent. The AVITI Systems also satisfy each

and every limitation of at least Claims 31, 38–39 and 42–43.

             117. In violation of 35 U.S.C. § 271(a), Element has infringed the

’781 Patent by making, using, offering to sell and selling the AVITI Systems.

             118. In addition to directly infringing, in violation of 35 U.S.C.

§ 271(b), Element has induced and continues to induce its customers to directly

infringe the ’781 Patent by taking actions that include, but are not limited to,

advertising its products and services and their infringing uses, including on



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Element’s website; establishing distribution channels for these products in the

United States; drafting, distributing or making available product specifications,

instructions or user manuals for the products to Element’s customers and

prospective customers and/or providing technical support or other services for the

products to Element’s customers and prospective customers. For example, the

AVITI product guides direct the user to perform infringing uses of the AVITI

Systems, including loading a flow cell into the nest (Ex. 23, AVITI System

Workflow Guide at 52; Ex. 21, AVITI24 System User Guide at 8), thereby making

use of the “fluidic device holder.” Element knows that when Element’s customers

use the AVITI Systems as directed by Element, Element’s customers are directly

infringing the ’781 Patent.

             119. Element has been on notice of the infringement alleged in this

Count since on or around the issuance of the ’781 Patent on February 10, 2015.

Alternatively, Element has been on notice of the ’781 Patent at least since May 15,

2025, when Illumina filed and served on Element a complaint alleging that

Element infringes the ’781 Patent. Element has committed acts of infringement

willfully and intentionally after notice of infringement.

             120. Illumina has been damaged by the infringement alleged in this

Count and will suffer irreparable harm absent an injunction.




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            COUNT III: INFRINGEMENT OF THE ’130 PATENT

             121. Illumina incorporates by reference paragraphs 1–67 as if fully

set forth herein.

             122. Element has infringed at least Claims 1, 2–7, 10–19 and 21–23

of the ’130 Patent in violation of 35 U.S.C. § 271(a), by making, using, offering to

sell and selling within the United States the inventions claimed in the ’130 Patent.

             123. Independent Claim 1 of the ’130 Patent recites:

             A system comprising

             an optical deck having a plurality of optical components mounted
             thereto;

             a sample deck having a slidable platform that supports a fluidic device
             thereon and a thermal module to control a temperature of the fluidic
             device; and

             a fluid storage system comprising:

             an enclosure having a cavity;

             a door configured to open to provide access to the cavity;

             a temperature control assembly configured to regulate a temperature
             within the cavity;

             a fluid removal assembly comprising:

             an elevator mechanism including a drive motor, and a stage assembly
             having a transport platform to hold an array of sipper tubes disposable
             at least partially within the cavity,

             wherein the drive motor is to move the array of sipper tubes
             bidirectionally along a Z-axis,

             wherein each sipper tube of the array of sipper tubes includes a distal
             portion that is to be inserted into a component well of a reaction

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             component tray such that fluids stored in the reaction component tray
             are removeable to be delivered to the fluidic device, wherein the
             enclosure of the fluid storage system is separate from the optical deck
             and separate from the sample deck; and

             a casing enclosing the optical deck and the fluid storage system
             therein, the door providing access through the casing to the cavity.

(Ex. 4, ’130 Patent at 53:38–67.)

             124. “A system comprising.” As previously alleged in regard to

Claim 1 of the ’241 Patent (see supra ¶¶ 71–74), the AVITI Systems are systems,

which satisfies this limitation of Claim 1 of the ’130 Patent.

             125. “an optical deck having a plurality of optical components

mounted thereto.” As previously alleged in regard to Claim 1 of the ’241 Patent

(see supra ¶¶ 75–76), the AVITI Systems have an optical system comprising an

excitation light source, an imaging detector and an optical train. This system

includes an optical deck, a fixture on which various optical components are

mounted. This optical deck is the optical deck recited in Claim 1 of the ’130

Patent.

             126. The optical system of the AVITI Systems “is a four-color

optical system with two excitation lines of approximately 532 and 635 nm. The

four-color system is created using an objective lens, multiple tube lenses and

multiple cameras for simultaneous imaging of four spectrally separated

colors. . . . The instrument contains two fluidics modules and a shared imaging

module, enabling parallel utilization of two flowcells.” (Ex. 22, Element 2023

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Publication at 134 (emphasis added).) The objective lens, the multiple tube lenses

and the multiple cameras are a plurality of optical components mounted to an

optical deck.

                127. “a sample deck having a slidable platform that supports a

fluidic device thereon.” Element’s AVITI Systems have a sample deck having a

slidable platform that supports a fluidic device, as recited in Claim 1 of the ’130

Patent. The AVITI Systems, inside the nest bay, have a sample deck with a

slidable platform with two nests mounted thereto. As described below, each nest

supports a fluidic device thereon.

                128. The AVITI System Workflow Guide states that “[t]he nest bay

includes two nests, one for each side. Each nest holds one flow cell [marked as B

below] secured with a lid.” (Ex. 23, AVITI System Workflow Guide at 13.) The

flow cell, together with its plastic cartridge, is the fluidic device. The figure below

shows the nest bay, which includes the slidable platform, including the two nests,

each of which supports a fluidic device thereon.




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(Ex. 23, AVITI System Workflow Guide at 13.)

             129. The AVITI24 is structured in the same manner: “The nest bay

includes two nests, one for each side, and each nest holds one flow cell [marked as

B below]. A hinged flow cell lid secures the flow cell in place.” (Ex. 21, AVITI24

System User Guide at 8.)




(Ex. 21, AVITI24 System User Guide at 8.)

             130. In the AVITI Systems, to permit the fluidic device to be

imaged, the nests that support the fluidic device are mounted to a slidable platform

on the sample deck. The slidable platform allows the fluidic devices to be

positioned for optical analysis.


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             131. “a thermal module to control a temperature of the fluidic

device.” In the AVITI Systems, the sample deck has a thermal module, such as a

thermoelectric cooler (“TEC”) to control a temperature of the fluidic device, as

recited in Claim 1 of the ’130 Patent.

             132. The AVITI System Workflow Guide states that “[t]he nest has

a hot surface and exposure can cause burns.” (Ex. 23, AVITI System Workflow

Guide at 91.) The AVITI24 System User Guide similarly states that “[t]he nest has

a hot surface and exposure can cause burns.” (Ex. 21, AVITI24 System User

Guide at 59.) Thus, the nest, which is on the slidable platform on the sample deck,

has a thermal module (such as a thermoelectric cooler, which is capable of heating)

to control a temperature of the respective fluidic device that is placed on each nest.

             133. As can be seen from the screenshot of Element’s AVITI system

demonstration video below, the AVITI Systems have the hot surface warning label,

which further shows that the sample deck has a thermal module to control a

temperature of the fluidic device.




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(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             134. “a fluid storage system comprising.” As previously alleged in

regard to Claim 1 of the ’241 Patent (see supra ¶ 84), the AVITI Systems have a

fluid storage system, which satisfies this limitation of Claim 1 of the ’130 Patent.

The fluid storage system is the collection of components of the AVITI Systems

that store and distribute the reagents and washes. It includes the pump bay, the

reagent bay, the sequencing cartridge, the system of movable sipper tubes, and the

refrigeration system.

             135. “an enclosure having a cavity.” As previously alleged in regard

to Claim 1 of the ’241 Patent (see supra ¶¶ 85–87), Element’s AVITI Systems’

fluid storage systems include an enclosure having a cavity, as recited in Claim 1 of

the ’130 Patent. The enclosure contains at least the reagent bay on each side of the

AVITI Systems, and the cavity is the interior of the enclosure.

             136. “a door configured to open to provide access to the cavity.” As

previously alleged in regard to Claim 1 of the ’241 Patent (see supra ¶ 88), the

AVITI Systems include a fluid storage system with a reagent bay door configured

to open to provide access to the cavity. This reagent bay door is the door recited in

Claim 1 of the ’130 Patent. The reagent bay doors are openable to provide access

to the cavity.



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             137. “a temperature control assembly configured to regulate a

temperature within the cavity.” Element’s AVITI Systems’ fluid storage system

has a temperature control assembly configured to regulate a temperature within the

cavity, as recited in Claim 1 of the ’130 Patent.

             138. In Element’s AVITI Systems, the sequencing cartridge contains

the reagents for sequencing. These cartridges are sold frozen and must be thawed.

A thawed, ready-for-use sequencing cartridge is stored at 2°C to 8°C. (Ex. 23,

AVITI System Workflow Guide at 44 (“If you are not sequencing immediately,

keep the [sequencing] cartridge at 2°C to 8°C.”).)

             139. The AVITI product guides instruct the user: “Each reagent bay

holds a buffer bottle and cartridge basket that contains a [sequencing] cartridge or a

wash tray, depending on whether the system is sequencing or washing. Keep the

reagent bay doors closed to maintain the refrigeration, which chills reagents.”

(Ex. 8, AVITI System User Guide at 9 (emphasis added); Ex. 21, AVITI24 System

User Guide at 9 (same).)

             140. Thus, the system in the AVITI Systems that stores and

distributes reagents and wash solutions (the fluid storage system) includes a

temperature control assembly configured to maintain the refrigeration (regulate a

temperature) within the cavity.




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             141. “a fluid removal assembly comprising.” The AVITI Systems’

fluid storage system includes a fluid removal assembly, as recited by Claim 1 of

the ’130 Patent. The AVITI Systems have an assembly to remove fluids (reagents

and washes) from the reagent bay. The AVITI System Workflow Guide states:

“When priming starts, sippers descend into the [reagent] bay, pierce the foil seals

covering the [sequencing] cartridge wells, and aspirate reagents from the bottom of

each well. The sippers continue to aspirate reagents throughout the run.

Functioning similarly for a wash, the sippers aspirate wash solution instead of

reagents.” (Ex. 23, AVITI System Workflow Guide at 14; see also Ex. 21,

AVITI24 System User Guide at 9 (same).)

             142. “an elevator mechanism including a drive motor.” Element’s

AVITI Systems’ fluid removal assembly has an elevator mechanism including a

drive motor, as recited in Claim 1 of the ’130 Patent. The ’130 Patent describes an

embodiment in which the elevator mechanism is “configured to move components

of the removal assembly 1022 bi-directionally along the Z-axis.” (Ex. 4, ’130

Patent at 36:32–34.) The array of sipper tubes in the AVITI Systems (described

below) ascend and descend (i.e., move bi-directionally along the Z-axis) into the

bay to aspirate reagents from the sequencing cartridges. In the AVITI Systems, for

the sippers to descend into the reagent bay and pierce the foil seals, the fluid




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removal system uses an elevator mechanism including a drive motor to move the

sipper tubes up and down into the reagent bay.

             143. “a stage assembly having a transport platform to hold an array

of sipper tubes disposable at least partially within the cavity.” Element’s AVITI

Systems include a stage assembly having a transport platform to hold an array of

sipper tubes disposable at least partially within the cavity, as recited in Claim 1 of

the ’130 Patent.

             144. The ’130 Patent describes an embodiment in which the stage

assembly is the component of the fluid removal assembly that moves up and down

as part of the elevator mechanism. (Ex. 4, ’130 Patent at 36:61–64, 37:1–4, 37:23–

27.) The patent further describes an embodiment in which the transport platform is

the part of the stage assembly “configured to hold an array of sipper tubes.” (Id. at

36:61–64, 37:5–6.) The AVITI Systems include a stage assembly having a

transport platform to hold an array of sipper tubes to cause the sipper tubes to

descend into the reagent bay. (Ex. 23, AVITI System Workflow Guide at 14

(“When priming starts, sippers descend into the [reagent] bay, pierce the foil seals

covering the [sequencing] cartridge wells, and aspirate reagents from the bottom of

each well.”); Ex. 21, AVITI24 System User Guide at 9 (same).)

             145. As previously alleged in regard to Claim 1 of the ’241 Patent

(see supra ¶¶ 89–90), Element’s AVITI Systems include a transport platform



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holding the array of sipper tubes, each sipper tube of the array of sipper tubes

including a distal portion positioned to be inserted into a component well of a

sequencing cartridge within the cavity. This transport platform is the transport

platform to hold an array of sipper tubes disposable at least partially within the

cavity recited in Claim 1 of the ’130 Patent.

             146. The sequencing cartridge in the AVITI Systems is located

within the reagent bay (a part of the cavity). (Ex. 8, AVITI System User Guide at

9 (“Each reagent bay holds a buffer bottle and cartridge basket that contains a

[sequencing] cartridge or a wash tray, depending on whether the system is

sequencing or washing.”); Ex. 21, AVITI24 System User Guide at 9 (same).) In

the AVITI Systems, the sipper tubes descend into the reagent bay to be inserted

into the sequencing cartridge. Thus, the sipper tubes are disposable at least

partially within the cavity to aspirate reagents. The opening of the cavity

containing the sequencing cartridge from which the sipper tubes will aspirate

reagents is shown in the image below.




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                         sequencing cartridge




(Ex. 23, AVITI System Workflow Guide at 15 (figure titled “Open reagent bay
with reagents”) (annotated).)

                     sequencing cartridge




(Ex. 21, AVITI24 System User Guide at 9 (annotated).)

             147. “wherein the drive motor is to move the array of sipper tubes

bidirectionally along a Z-axis.” Element’s AVITI Systems have a drive motor,

wherein the drive motor is to move the array of sipper tubes bidirectionally along a

Z-axis, as recited in Claim 1 of the ’130 Patent.

             148. The AVITI System Workflow Guide states that the sippers

(sipper tubes) descend into the sequencing cartridge to aspirate (remove) the

reagents from the sequencing cartridge: “When priming starts, sippers descend into



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the [reagent] bay, pierce the foil seals covering the [sequencing] cartridge wells,

and aspirate reagents from the bottom of each well.” (Ex. 23, AVITI System

Workflow Guide at 14; see also Ex. 21, AVITI24 System User Guide at 9 (same).)

The array of sipper tubes is moved by the drive motor downward along the Z-axis

to pierce the foil seals covering the sequencing cartridge wells.

             149. After the instrument has completed its run and a new cartridge

is to be inserted, the sippers (sipper tubes) in the AVITI Systems return to their

original position (i.e., move upward along the Z-axis) so that the used sequencing

cartridge may be removed and another cartridge may be inserted. Again, the drive

motor moves the array of sipper tubes upward along the Z-axis.

             150. The drive motor thus is used to move the array of sipper tubes

bidirectionally along the Z-axis. The below image shows the sequencing

cartridges, and a yellow arrow shows the Z-axis.

                    sequencing cartridge


                  Z-axis                              Z-axis




(Ex. 23, AVITI System Workflow Guide at 15 (figure titled “Open reagent bay
with reagents”) (annotated).)



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             151. “wherein each sipper tube of the array of sipper tubes includes a

distal portion that is to be inserted into a component well of a reaction component

tray such that fluids stored in the reaction component tray are removeable to be

delivered to the fluidic device.” As alleged in regard to Claim 1 of the ’241 Patent

(see supra ¶¶ 89–90), the sipper tubes of the array of sipper tubes in the AVITI

Systems include a distal portion positioned to be inserted into a component well of

a reaction tray within the cavity. These sipper tubes are the sipper tubes recited in

Claim 1 of the ’130 Patent, and for the same reasons, each sipper tube of the array

of sipper tubes includes a distal portion that is to be inserted into a component well

of a sequencing cartridge (the reaction component tray) such that fluids stored in

the reaction component tray are removeable to be delivered to the fluidic device, as

recited in Claim 1 of the ’130 Patent.

             152. “wherein the enclosure of the fluid storage system is separate

from the optical deck and separate from the sample deck.” Element’s AVITI

Systems comprise a fluid removal system wherein the enclosure of the fluid

storage system is separate from the optical deck and separate from the sample

deck, as recited in Claim 1 of the ’130 Patent.

             153. The enclosure of the system that stores and distributes reagents

and washes (the fluid storage system) in the AVITI Systems is separate from the

deck to which optical components are attached (the optical deck) and the sample



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deck. The below image of the entire AVITI system shows the locations of the

reagent bays and the sample deck, which are separate from each other. The optical

deck is separate from the fluid storage system as well.

                                 reagent bay (part of
                                 the fluid storage
                                 system) on each side




                           sample deck
                           supports the nests




(Ex. 20, AVITI System Specification Sheet (2023) at 4 (green annotations in
original, red annotations added).)

             154. “a casing enclosing the optical deck and the fluid storage

system therein, the door providing access through the casing to the cavity.”

Element’s AVITI Systems have a casing enclosing the optical deck and the fluid

storage system therein, the door providing access through the casing to the cavity,

as recited in Claim 1 of the ’130 Patent.



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             155. The AVITI System Workflow Guide states that “[e]xterior

shells enclose the instrument to maintain internal temperatures, exclude dust and

other external elements, and protect operators from exposure to lasers, mechanical

moving parts, and other internal hazards.” (Ex. 23, AVITI System Workflow

Guide at 12.) The exterior shells are the casing enclosing the optical deck and the

fluid storage system.

             156. The below images show the casing that encloses the optical

deck and the fluid storage system, and the doors that provide access through the

casing to the cavity:




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                     reagent bay (part of the fluid storage
                     system) on each side




                                                                      optical deck
                                                                      is inside the
                                                                      casing


                             doors provide access
                                   to cavity




                                    doors




(Ex. 20, Element AVITI System Specification Sheet (2023) at 4 (green annotations
in original, red and yellow annotations added).)




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                       reagent bay (part of the fluid
                       storage system) on each side




                                                                 optical deck
                                                                 is inside the
                                                                 casing

                            doors provide access
                                  to cavity




                                    doors

(Ex. 28, “AVITI24 System and Specifications,”
https://www.elementbiosciences.com/products/aviti24/platform (annotated).)

             157. As shown above, the AVITI Systems satisfy each and every

limitation of Claim 1 of the ’130 Patent. The AVITI Systems also satisfy each and

every limitation of at least Claims 2–7, 10–19 and 21–23.

             158. In violation of 35 U.S.C. § 271(a), Element has infringed the

’130 Patent by making, using, offering to sell and selling the AVITI Systems.

             159. In violation of 35 U.S.C. § 271(b), Element has induced and

continues to induce its customers to directly infringe the ’130 Patent by taking

actions that include, but are not limited to, advertising its products and services and

their infringing uses, including on Element’s website; establishing distribution

channels for these products in the United States; drafting, distributing or making



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available product specifications, instructions or user manuals for the products to

Element’s customers and prospective customers and/or providing technical support

or other services for the products to Element’s customers and prospective

customers. For example, the AVITI product guides direct the user to perform

infringing uses of the AVITI Systems, including loading a flow cell into the nest

(Ex. 23, AVITI System Workflow Guide at 52; Ex. 21, AVITI24 System User

Guide at 8), thereby making use of the “sample deck having a slidable platform

that supports a fluidic device thereon,” and loading reagents and fluids into the

reagent bay (Ex. 23, AVITI System Workflow Guide at 51–52; Ex. 21, AVITI24

System User Guide at 30–32), thereby making use of the “fluid storage system.”

Element knows that when Element’s customers use the AVITI Systems as directed

by Element, Element’s customers are directly infringing the ’130 Patent.

             160. Element has been on notice of the infringement alleged in this

Count since on or around the issuance of the ’130 Patent on September 14, 2021.

Alternatively, Element has been on notice of the ’130 Patent at least since May 15,

2025, when Illumina filed and served on Element a complaint alleging that

Element infringes the ’130 Patent. Element has committed acts of infringement

willfully and intentionally after notice of infringement.

             161. Illumina has been damaged by the infringement alleged in this

Count and will suffer irreparable harm absent an injunction.



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            COUNT IV: INFRINGEMENT OF THE ’116 PATENT

             162. Illumina incorporates by reference paragraphs 1–67 as if fully

set forth herein.

             163. Element has infringed at least Claim 1 of the ’116 Patent in

violation of 35 U.S.C. § 271(a), by making, using, offering to sell and selling

within the United States the invention claimed in the ’116 Patent.

             164. Independent Claim 1 of the ’116 Patent recites:

             A DNA sequencing instrument comprising:

             an optical deck comprising a light source assembly and two imaging
             detectors;

             a sample deck comprising a slidable platform configured to support a
             fluidic device comprising a flow cell, the sample deck further
             comprising a thermal module configured to control a temperature of
             the flow cell;

             a fluid storage system comprising:

             an enclosure having a cavity;

             a door configured to open to provide access to the cavity;

             a temperature control assembly configured to regulate a temperature
             within the cavity, the temperature control assembly comprising a
             thermoelectric cooling assembly located at a rear of the cavity
             opposite the door;

             a fluid removal assembly comprising:

             an elevator mechanism including a drive motor and a lead screw
             operatively coupled to the drive motor,

             a transport platform carrying a flag and configured to hold an array of
             sipper tubes, the elevator mechanism configured to move the array of


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            sipper tubes bi-directionally between a withdrawn level and a
            deposited level,

            a guide plate having openings through which the array of sipper tubes
            slide,

            a plurality of support beams coupled to the guide plate and extending
            parallel to the lead screw, and

            a location sensor configured to determine a level of the array of sipper
            tubes;

            a reaction component tray within the cavity of the enclosure of the
            fluid storage system, wherein the reaction component tray comprises a
            plurality of component wells configured to store fluids, wherein the
            plurality of component wells include a polymerase, modified
            nucleotides, a cleavage mix, and an oxidizing protectant; and

            a pump configured to direct the flow of fluids from the reaction
            component tray through the array of sipper tubes to a multi-port valve,
            the multi-port valve configured to selectively flow the fluids from the
            reaction component tray to the sample deck during DNA sequencing
            on the flow cell,

            wherein rotation of the lead screw in a first direction moves the
            transport platform toward the guide plate until the array of sipper
            tubes is at the deposited level, wherein rotation of the lead screw in a
            second, opposite direction moves the transport platform away from
            the guide plate until the array of sipper tubes is at the withdrawn level,
            wherein sipper tubes of the array of sipper tubes include distal
            portions that are inserted into component wells of the reaction
            component tray when the array of sipper tubes is at the deposited
            level, wherein the distal portions of the sipper tubes are completely
            removed from the component wells when the array of sipper tubes is
            at the withdrawn level, and wherein the location sensor is configured
            to detect the flag and determine when the array of sipper tubes has not
            reached a threshold level such that the reaction component tray is not
            ready for removal from the cavity.

(Ex. 5, ’116 Patent at 53:28–54:26.)



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             165. “A DNA sequencing instrument comprising.” The AVITI

Systems are DNA sequencing instruments as recited in Claim 1 of the ’116 Patent.

The User Guides for the AVITI Systems repeatedly refer to these devices as

instruments. (See, e.g., Ex. 8, AVITI System User Guide at 7 (“The instrument is

divided into two sides, side A on the left and side B on the right when facing the

instrument.” (emphasis added)); Ex. 21, AVITI24 System User Guide at 7

(same).)

             166. The AVITI System Workflow Guide states that the AVITI

system is an instrument for conducting DNA sequencing: “The Element AVITI

System is a mid-throughput next-generation sequencing (NGS) system that

amplifies and sequences DNA libraries.” (Ex. 23, AVITI System Workflow

Guide at 6 (emphasis added).)

             167. Similarly, the AVITI24 System User Guide states: “For

sequencing runs, the AVITI24 System is compatible with single-strand DNA

(ssDNA) libraries prepared with particular library preparation workflows and that

use Element sequencing chemistry.” (Ex. 21, AVITI24 System User Guide at 6

(emphasis added).)

             168. “an optical deck comprising a light source assembly and two

imaging detectors.” The AVITI Systems have an optical deck with a light source




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assembly and at least two imaging detectors, as recited in Claim 1 of the ’116

Patent.

             169. The optical deck includes a light source assembly and at least

two imaging detectors. The Element 2023 Publication states:

      Avidity sequencing was performed on the AVITI commercial
      sequencing system. Briefly, the instrument is a four-color optical
      system with two excitation lines of approximately 532 and 635 nm.
      The four-color system is created using an objective lens, multiple tube
      lenses and multiple cameras for simultaneous imaging of four
      spectrally separated colors. . . . The instrument contains two fluidics
      modules and a shared imaging module, enabling parallel utilization of
      two flowcells.

(Ex. 22, Element 2023 Publication at 134 (emphases added).) As discussed

previously, the components described above are illustrated in Figure 18 from

Element’s ’608 Patent—which purportedly covers the AVITI Systems.




(Ex. 24, ’608 Patent at Fig. 18.)



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The light source assembly emits light at wavelengths of approximately 532 and

635 nm. Two of the four cameras (the imaging sensors shown in the figure above)

are the two imaging detectors recited in Claim 1. The light source assembly and

the cameras (the imaging detectors) are mounted on the optical deck.

             170. “a sample deck comprising a slidable platform configured to

support a fluidic device comprising a flow cell.” As previously alleged in regard to

Claim 1 of the ’130 Patent (see supra ¶¶ 127–130), the AVITI Systems have a

sample deck having a slidable platform that supports a fluidic device thereon. In

addition, the AVITI Systems include a flow cell and plastic cartridge (together, the

fluidic device). (See Ex. 23, AVITI System Workflow Guide at 32 (“The flow cell

is a two-lane glass substrate encased in a plastic cartridge.”); see also Ex. 21,

AVITI24 System User Guide at 13 (same).) Thus, this sample deck is the sample

deck comprising a slidable platform configured to support a fluidic device

comprising a flow cell recited in Claim 1 of the ’116 Patent.

             171. “the sample deck further comprising a thermal module

configured to control a temperature of the flow cell.” As previously alleged in

regard to Claim 1 of the ’130 Patent (see supra ¶¶ 131–133), the sample deck

includes a thermal module. Because the thermal module is configured to control a

temperature of the fluidic device and because the fluidic device comprises a flow




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cell, this is the thermal module configured to control the temperature of the flow

cell recited in Claim 1 of the ’116 Patent.

             172. “a fluid storage system comprising.” As previously alleged in

regard to Claim 1 of the ’241 Patent and Claim 1 of the ’130 Patent (see supra

¶¶ 84, 134), the AVITI Systems have a fluid storage system, as recited in Claim 1

of the ’116 Patent. The fluid storage system is the collection of components of the

AVITI Systems that store and distribute the reagents and washes. It includes the

pump bay, the reagent bay, the sequencing cartridge, the system of movable sipper

tubes, and the refrigeration system.

             173. “an enclosure having a cavity.” As previously alleged in regard

to Claim 1 of the ’241 Patent and Claim 1 of the ’130 Patent (see supra ¶¶ 85–87,

135), the AVITI Systems have an enclosure having a cavity, as recited in Claim 1

of the ’116 Patent. The claimed enclosure contains at least the reagent bay. Inside

the enclosure is the cavity.

             174. “a door configured to open to provide access to the cavity.” As

previously alleged in regard to Claim 1 of the ’241 Patent and Claim 1 of the ’130

Patent (see supra ¶¶ 88, 136), the AVITI Systems have a reagent bay door

configured to open to provide access to the cavity, which is the door configured to

open to provide access to the cavity as recited in Claim 1 of the ’116 Patent.




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             175. “a temperature control assembly configured to regulate a

temperature within the cavity, the temperature control assembly comprising a

thermoelectric cooling assembly located at a rear of the cavity opposite the door.”

As previously alleged in regard to Claim 1 of the ’130 Patent (see supra ¶¶ 137–

140), the AVITI Systems have a temperature control assembly configured to

regulate a temperature within a cavity, which is the temperature control assembly

recited in Claim 1 of the ’116 Patent.

             176. The temperature control assembly has a thermoelectric cooling

assembly. The AVITI System User Guide instructs the user: “Each reagent bay

holds a buffer bottle and cartridge basket that contains a sequencing cartridge or a

wash tray, depending on whether the system is sequencing or washing. Keep the

reagent bay doors closed to maintain the refrigeration, which chills reagents.”

(Ex. 8, AVITI System User Guide at 9 (emphasis added); see also Ex. 21,

AVITI24 System User Guide at 9 (“Keep the reagent bay doors closed to maintain

the refrigeration, which chills reagents.” (emphasis added)).) In addition, the

AVITI Systems are powered by electricity. (Ex. 8, AVITI System User Guide at

10 (“When connecting the instrument to power, use only the power cord that

Element provides.”); see also Ex. 21, AVITI24 System User Guide at 10 (same).)

Because the AVITI Systems refrigerate reagents and are powered by electricity,




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the temperature control assembly includes a thermoelectric cooling assembly—a

device that employs an electric current to remove heat.

             177. The thermoelectric cooling assembly is located at the rear of the

cavity opposite the door, rather than at the front of the cavity by the door. The

temperature control assembly is not visible from the front of the open cavity, as

shown in the image below from an Element demonstration video.




                                                               no temperature
                                                               control assembly
                                                               visible near front
                                                               of cavity




(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 3:21 (July 21, 2022)
(annotated).)




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             178. “a fluid removal assembly comprising.” As previously alleged

in regard to Claim 1 of the ’130 Patent (see supra ¶ 141), the AVITI Systems have

a fluid removal assembly, as recited in Claim 1 of the ’116 Patent.

             179. “an elevator mechanism including a drive motor and a lead

screw operatively coupled to the drive motor.” As previously alleged in regard to

Claim 1 of the ’130 Patent (see supra ¶ 142), the AVITI Systems have an elevator

mechanism including a drive motor. Because a drive motor supplies energy in the

form of rotation, the rotational energy supplied by the drive motor in the AVITI

Systems is converted to “linear,” or up-and-down, energy before it can be used to

move the AVITI Systems’ transport platform (discussed below) up and down. In

the AVITI Systems, therefore, the drive motor is operatively coupled to a lead

screw, which is a device that converts turning motion into linear motion, to allow

the drive motor to move the AVITI Systems’ transport platform. Thus, the AVITI

Systems have an elevator mechanism including a drive motor and a lead screw

operatively coupled to the drive motor, as recited in Claim 1 of the ’116 Patent.

             180. “a transport platform carrying a flag and configured to hold an

array of sipper tubes, the elevator mechanism configured to move the array of

sipper tubes bi-directionally between a withdrawn level and a deposited level.” As

previously alleged in regard to Claim 1 of the ’241 Patent (see supra ¶¶ 89–90), the

AVITI Systems have a transport platform to hold an array of sipper tubes. In



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addition, as previously alleged in regard to Claim 1 of the ’130 Patent (see supra

¶¶ 142–150), the AVITI Systems have an elevator mechanism including a drive

motor, wherein the drive motor moves an array of sipper tubes bidirectionally

along the Z-axis. Thus, the AVITI Systems have a transport platform and an

elevator mechanism configured to move the array of sipper tubes bi-directionally,

as recited in Claim 1 of the ’116 Patent.

             181. The AVITI product guides state that the elevator mechanism is

configured to move the array of sipper tubes downwards into the sequencing

cartridge wells to aspirate reagents from the bottom of the wells, which is the

deposited level. (See Ex. 23, AVITI System Workflow Guide at 14 (“[S]ippers

descend into the [reagent] bay, pierce the foil seals covering the [sequencing]

cartridge wells, and aspirate reagents from the bottom of each well.”); Ex. 21,

AVITI24 System User Guide at 9 (same).) After sequencing, the sequencing

cartridge can be removed from the AVITI Systems, as shown in the image below:




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(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 3:34 (July 21, 2022); see
also Ex. 21, AVITI24 System User Guide at 31 (directing the user to “[r]emove
any materials from the reagent bay”).)

For the sequencing cartridge to be removed from the AVITI Systems, the sipper

tubes cannot remain inserted into the component wells of the cartridge. Instead, in

the AVITI Systems, prior to removal, the sipper tubes are withdrawn upwards to

completely exit the sequencing cartridge component wells so that the sequencing

cartridge can be withdrawn from the reagent bay without damaging the instrument.

The sipper tubes in the AVITI Systems move bi-directionally between a withdrawn

level and a deposited level to allow removal of the reaction component tray.

            182. For the transport platform to determine when it has ascended or

descended to its intended position (for example, when the platform has descended

low enough for the sippers to begin aspirating regents from the sequencing


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cartridge), it registers when the sipper tubes on the transport platform have reached

their intended position using a location sensor. The ’116 Patent describes an

embodiment in which a flag registers the level of the transport platform: “The

location sensor may detect a flag 1064 of the stage assembly 1046 to determine a

level of the stage assembly 1046.”3 (Ex. 5, ’116 Patent at 37:55–57.) The

transport platform in the AVITI Systems includes a flag.

             183. “a guide plate having openings through which the array of

sipper tubes slide.” The ’116 Patent discloses that the “guide plate” is a plate that

contains openings to prevent misalignment of the sipper tubes with the component

wells: “the sipper tubes 1050 include distal portions 1052 that are configured to be

inserted into component wells 1060 . . . of the tray 1020. The distal portions 1052

extend through corresponding openings 1053 of the guide plate 1040.” (Ex. 5,

’116 Patent at 37:3–7.) The patent further discloses that “[t]he guide plate 1040 is

configured to prevent distal portions 1052 from becoming misaligned with the

component wells 1060 before the distal portions 1052 are inserted therein.” (Id. at

37:25–28.) As shown in the image below, the guide plate 1040 is configured to

keep the distal portions 1052 of the sipper tubes from missing the component wells

when the sipper tubes descend.


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 The stage assembly includes the transport platform. Ex. 5, ’116 Patent at 36:57–
58.


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                                                                      guide plate


                                                                     distal portions
                                                                     of sipper tubes




(Ex. 5, ’116 Patent at Fig. 30 (annotated).)

             184. The AVITI Systems’ fluid removal assembly includes a guide

plate having openings through which the array of sipper tubes slide, as recited in

Claim 1 of the ’116 Patent. “When priming starts, sippers descend into the

[reagent] bay, pierce the foil seals covering the [sequencing] cartridge wells, and

aspirate reagents from the bottom of each well.” (Ex. 23, AVITI System


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Workflow Guide at 14; Ex. 21, AVITI24 System User Guide at 9 (same).) For the

sippers in the AVITI Systems to descend reliably into the cartridge wells, they are

aligned with the cartridge wells. The guide plate, which is a plate with openings in

it that is positioned over the sequencing cartridge wells, prevents the sipper tubes

from becoming misaligned. The array of sipper tubes slides through the

corresponding openings of the guide plate when the sippers descend into the bay,

so that they pierce the foil seals covering the sequencing cartridge wells.

             185. “a plurality of support beams coupled to the guide plate and

extending parallel to the lead screw.” The AVITI Systems have a plurality of

support beams as recited in Claim 1 of the ’116 Patent. As previously alleged (see

supra ¶¶ 183–184), the guide plate within the AVITI Systems rests over the

sequencing cartridge when the sequencing cartridge has been loaded into the

reagent bay. In this elevated position, the guide plate is attached to the AVITI

instruments for support. A plurality of the support beams in the AVITI Systems

are coupled to the guide plate. This plurality of support beams extends parallel to

the lead screw or is otherwise arranged to perform substantially the same function

in substantially the same way to achieve substantially the same result.

             186. “a location sensor configured to determine a level of the array

of sipper tubes.” The AVITI Systems have a location sensor as recited in Claim 1

of the ’116 Patent. The ’116 Patent describes an embodiment in which the location


                                         97
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sensor determines the level of the array of sipper tubes: “The location sensor may

detect a flag 1064 of the stage assembly 1046 to determine a level of the stage

assembly 1046.”4 (Ex. 5, ’116 Patent at 37:55–57.) Within the AVITI Systems,

the sipper tubes attached to the transport platform move bi-directionally between

the deposited position and the withdrawn position to aspirate reagents from the

sequencing cartridge (or the wash solution from the wash tray). The AVITI

Systems gauge the position of the transport platform using a location sensor. To

determine whether the sippers have reached a threshold level where the reaction

tray is ready for removal from the cavity, the location sensor detects the position of

the flag.

             187. “a reaction component tray within the cavity of the enclosure of

the fluid storage system, wherein the reaction component tray comprises a plurality

of component wells configured to store fluids, wherein the plurality of component

wells include a polymerase, modified nucleotides, a cleavage mix, and an

oxidizing protectant.” The AVITI Systems have a reaction component tray that is

configured as recited in Claim 1 of the ’116 Patent.

             188. In the AVITI Systems, the sequencing cartridge is the reaction

component tray. The sequencing cartridge “is a collection of reagents and buffers


4
  The stage assembly includes the transport platform that holds an array of sipper
tubes. Ex. 5, ’116 Patent at 36:57–58, 36:66–67.


                                         98
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in foil-sealed wells that are packaged in an easy-to-load container.” (Ex. 8, AVITI

System User Guide at 13; Ex. 21, AVITI24 System User Guide at 13.)

             189. The AVITI Systems’ sequencing cartridge (the reaction

component tray) is located within the cavity of the enclosure of the fluid storage

system. As discussed (see supra ¶¶ 85–87, 135, 173), the enclosure contains at

least the reagent bay of the AVITI Systems. The AVITI product guides state that

“[e]ach reagent bay holds a buffer bottle and cartridge basket that contains a

[sequencing] cartridge or a wash tray, depending on whether the system is

sequencing or washing.” (Ex. 8, AVITI System User Guide at 9; see also Ex. 21,

AVITI24 System User Guide at 9 (same).)

             190. In the AVITI Systems, the reaction component tray has a

plurality of component wells configured to store fluids. The sequencing cartridge

(the reaction component tray) is prefilled with amplification, paired-end, indexing

and cycling reagents for sequencing and buffer for the post-run wash. “Each

reagent occupies a foil-sealed well.” (Ex. 23, AVITI System Workflow Guide at

31.) The sequencing cartridge, with some of the plurality of component wells

annotated, is shown below:




                                         99
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     component
     wells



(Ex. 8, AVITI System User Guide at 13 (green annotations in original, red
annotations added).)

             191. A top view of the sequencing cartridge, showing the tops of the

component wells, is shown below.




(Ex. 23, AVITI System Workflow Guide at 43.)

             192. The plurality of component wells in the sequencing cartridge

include a polymerase, modified nucleotides, a cleavage mix and an oxidizing

protectant, as recited in Claim 1. Element states that the “sequencing cartridge


                                        100
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packages the amplification, paired-end, indexing, and cycling reagents and a post-

run wash buffer into a convenient container.” (Ex. 23, AVITI System Workflow

Guide at 31.) When the AVITI Systems begin a sequencing run, “the library

hybridizes to surface primers coating the flow cell. Amplification polymerase then

binds to the library and primer duplexes . . . For each cycle, a sequencing

polymerase binds an avidite to a polony and primer duplex.” (Ex. 9, AVITI

System Specification Sheet (2024) at 1–2 (emphases added).) Thus, at least one of

the plurality of component wells used by the AVITI Systems during sequencing

contains a polymerase.

            193. The ’116 Patent discloses that blocked nucleotides are

examples of modified nucleotides: “A particularly useful SBS protocol exploits

modified nucleotides having removable 3’ blocks . . .” (Ex. 5, ’116 Patent at

40:46–47.) The Element 2023 Publication states that the AVITI Systems use

blocked nucleotides. “[A]vidity sequencing leverages rolling circle amplification,

polymerases evolved to accommodate the avidite complex formation and a

separate polymerase evolved for efficient incorporation of unlabeled and 3’

blocked nucleotides.” (Ex. 22, Element 2023 Publication at 135.) Thus, at least

one of the plurality of component wells used by the AVITI Systems during

sequencing contains modified nucleotides.




                                        101
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             194. For the AVITI Systems to proceed with sequencing, the AVITI

Systems next remove the reversible terminator in the modified (blocked)

nucleotide (i.e., the part of the modified nucleotide that prevents the subsequent

nucleotide from being added to the strand) so that the next nucleotide may be

added. To do so, a solution is introduced to “cleave” the reversible terminator off

the end of the modified nucleotide. This solution is called a cleavage mix. Thus,

at least one of the plurality of component wells used by the AVITI Systems during

sequencing contains a cleavage mix.

             195. The AVITI Systems protect the sequencing reagents as well as

the DNA fragments being sequenced from oxidation, which occurs through

reactions of the sequencing reagents or DNA fragments with oxygen. Oxidation

degrades the quality of the reagents and makes sequencing less accurate.

Oxidizing protectants are routinely used to inhibit oxidation. In the AVITI

Systems, at least one of the plurality of component wells used during sequencing

contains an oxidizing protectant.

             196. “a pump configured to direct the flow of fluids from the

reaction component tray through the array of sipper tubes to a multi-port valve, the

multi-port valve configured to selectively flow the fluids from the reaction

component tray to the sample deck during DNA sequencing on the flow cell.” The




                                         102
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AVITI Systems have a pump configured in the manner recited in Claim 1 of the

’116 Patent.

               197. The AVITI System Workflow Guide states that the AVITI

Systems have a pump configured to direct the flow of the fluids from the reaction

component tray to the flow cell: “Each pump bay contains two pumps that control

the flow of liquid. The left pump pulls fluid through the left lane of the flow cell

and the right pump pulls fluid through the right lane.” (Ex. 23, AVITI System

Workflow Guide at 14 (emphasis added).) The pumps are illustrated in the

diagram below.




(Ex. 23, AVITI System Workflow Guide at 14; see also Ex. 21, AVITI24 System
User Guide at 9 (same).)

               198. The AVITI System Workflow Guide also states that “[p]riming

prepares reagents for delivery and pumps air and reagents through a used flow cell

and the fluidic [sipper] tubes, preventing contamination between runs.” (Ex. 23,



                                         103
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                                         1123



AVITI System Workflow Guide at 20; see also Ex. 21, AVITI24 System User

Guide at 21 (same).) Hence, the AVITI Systems’ pumps are configured to direct

the flow of fluids from the reaction component tray through the array of sipper

tubes.

             199. The AVITI Systems include a multi-port valve configured to

selectively flow different fluids from the sequencing cartridge (the reaction

component tray) to the sample deck during DNA sequencing on the flow cell. The

Element 2023 Publication states: “Reagents are delivered using a selector valve

and syringe pump to perform reagent cycling.” (Ex. 22, Element 2023 Publication

at 134 (emphasis added).) The selector valve is the multiport valve.

             200. “wherein rotation of the lead screw in a first direction moves

the transport platform toward the guide plate until the array of sipper tubes is at the

deposited level, wherein rotation of the lead screw in a second, opposite direction

moves the transport platform away from the guide plate until the array of sipper

tubes is at the withdrawn level.” In the AVITI Systems, the lead screw rotates in

the manner and performs the functions recited in Claim 1 of the ’116 Patent.

             201. The sipper tubes in the AVITI Systems move bi-directionally

between a position where the sipper tubes are within the sequencing cartridge wells

(the deposited level) and a position where the sipper tubes are fully withdrawn

from the sequencing cartridge wells (the withdrawn level). (Ex. 23, AVITI System



                                         104
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Workflow Guide at 14 (“When priming starts, sippers descend into the [reagent]

bay, pierce the foil seals covering the [sequencing] cartridge wells, and aspirate

reagents from the bottom of each well.”); Ex. 21, AVITI24 System User Guide at 9

(same).)

             202. As previously alleged (see supra ¶¶ 180–182), the transport

platform holds the array of sipper tubes. The lead screw is a device that converts

the rotational motion of the drive motor into the linear (up-and-down) motion of

the transport platform. When the lead screw rotates, it causes the transport

platform to move either up or down, depending on the direction in which the lead

screw is rotating.

             203. As previously alleged (see supra ¶¶ 183–184), the guide plate

sits under the sipper tubes in their withdrawn position. When the lead screw

rotates in the direction that causes the transport platform (and attached sipper

tubes) to descend, the sippers move downward toward the guide plate. When the

sippers have extended into the wells of the sequencing cartridge, they have reached

the deposited level. From this position, the lead screw may be rotated back in the

opposite direction. This causes the transport platform and the array of sipper tubes

to move upward away from the guide plate. Once the sipper tubes have completely

exited the sequencing cartridge wells, they have reached the withdrawn level.




                                         105
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             204. “wherein sipper tubes of the array of sipper tubes include distal

portions that are inserted into component wells of the reaction component tray

when the array of sipper tubes is at the deposited level, wherein the distal portions

of the sipper tubes are completely removed from the component wells when the

array of sipper tubes is at the withdrawn level.” As previously alleged in regard to

Claim 1 of the ’241 Patent (see supra ¶¶ 89–90), Element’s AVITI Systems

include a transport platform holding an array of sipper tubes. As further previously

alleged in regard to Claim 1 of the ’241 Patent (see supra ¶¶ 89–90), each sipper

tube of the array of sipper tubes in the AVITI Systems includes a distal portion

positioned to be inserted into a component well of a reaction component tray

within the cavity. When the array of sipper tubes is at the deposited level, the

downward end (the distal portion) of these sipper tubes is positioned within the

component well. When the array of sipper tubes is at the withdrawn level, the

distal portions of the sipper tubes are completely removed from the component

wells of the sequencing cartridge (reaction component tray). Thus, the sipper tubes

of the AVITI Systems include distal portions that are inserted into component

wells of the reaction component tray when the array of sipper tubes is at the

deposited level, wherein the distal portions of the sipper tubes are completely

removed from the component wells when the array of sipper tubes is at the

withdrawn level, as recited in Claim 1 of the ’116 Patent.



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             205. “wherein the location sensor is configured to detect the flag and

determine when the array of sipper tubes has not reached a threshold level such

that the reaction component tray is not ready for removal from the cavity.” The

’116 Patent discloses that the location sensor detects the flag to determine the level

of the array of sipper tubes: “The location sensor may detect a flag 1064 of the

stage assembly 1046 to determine a level of the stage assembly 1046. If the flag

1064 has not reached a threshold level along the Z-axis, the location sensor may

communicate with the workstation 160 (or other assay system) to notify the user

that the tray 1020 is not ready for removal.”5 (Ex. 5, ’116 Patent at 37:55–61.)

The patent further discloses that when the array of sipper tubes reaches the

withdrawn level, the sequencing cartridge (the reaction component tray) “may be

removed from the system cavity 1008 [] without damage to the sipper tubes 1050”

or the sequencing cartridge. (Ex. 5, ’116 Patent at 37:12–16.)

             206. In the AVITI Systems, the location sensor is configured as

recited in Claim 1 of the ’116 Patent. The location sensor detects a signal that

indicates that the array of sipper tubes has not reached a threshold level such that

the reaction component tray is not ready for removal from the cavity. To

determine whether the sippers have reached a threshold level where the reaction


5
  The stage assembly includes the transport platform that holds an array of sipper
tubes. Ex. 5, ’116 Patent at 36:57–58, 36:66–67.


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tray is ready for removal from the cavity, the location sensor detects the position of

the flag.

             207. As shown above, the AVITI Systems satisfy each and every

limitation of Claim 1 of the ’116 Patent.

             208. In violation of 35 U.S.C. § 271(a), Element has infringed the

’116 Patent by making, using, offering to sell and selling the AVITI Systems.

             209. In violation of 35 U.S.C. § 271(b), Element has induced and

continues to induce its customers to directly infringe, both literally and/or under

the doctrine of equivalents, the ’116 Patent by taking actions that include, but are

not limited to, advertising its products and services and their infringing uses,

including on Element’s website; establishing distribution channels for these

products in the United States; drafting, distributing or making available product

specifications, instructions or user manuals for the products to Element’s

customers and prospective customers and/or providing technical support or other

services for the products to Element’s customers and prospective customers. For

example, the AVITI product guides direct the user to perform infringing uses of

the AVITI Systems, including loading a flow cell into the nest (Ex. 23, AVITI

System Workflow Guide at 52; Ex. 21, AVITI24 System User Guide at 8), thereby

making use of the “sample deck comprising a slidable platform configured to

support a fluidic device,” and loading reagents and fluids into the reagent bay (Ex.



                                         108
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23, AVITI System Workflow Guide at 51–52; Ex. 21, AVITI24 System User

Guide at 30–32), thereby making use of the “fluid storage system.” Element

knows that when Element’s customers use the AVITI Systems as directed by

Element, Element’s customers are directly infringing the ’116 Patent.

             210. Element has been on notice of the infringement alleged in this

Count since at least on or around the issuance of the ’116 Patent on July 11, 2023.

Alternatively, Element has been on notice of the ’116 Patent at least since May 15,

2025, when Illumina filed and served on Element a complaint alleging that

Element infringes the ’116 Patent. Element has committed acts of infringement

willfully and intentionally after notice of infringement.

             211. Illumina has been damaged by the infringement alleged in this

Count and will suffer irreparable harm absent an injunction.

             COUNT V: INFRINGEMENT OF THE ’702 PATENT

             212. Illumina incorporates by reference paragraphs 1–67 as if fully

set forth herein.

             213. Element has infringed at least Claims 1–11 of the ’702 Patent in

violation of 35 U.S.C. § 271(a), by making, using, offering to sell and selling

within the United States the invention claimed in the ’702 Patent.

             214. Independent Claim 1 of the ’702 Patent recites:

             A microfluidic cartridge comprising:



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             a frame;

             a microfluidic plate positioned within the frame, wherein the
             microfluidic plate floats relative to the frame, the microfluidic plate
             comprising a first side, a first edge, and a plurality of first fluidic ports
             located in the first side;

             a support bracket positioned within the frame, wherein the support
             bracket floats relative to the microfluidic plate and the frame, the
             support bracket comprising:

             a plurality of seals supported by the support bracket, each seal of the
             plurality of seals positioned to interface with a corresponding first
             fluidic port of the plurality of first fluidic ports, and

             a plurality of alignment holes corresponding to a first plurality of
             indexing features located on an analysis device, the plurality of
             alignment holes configured to align the plurality of seals with
             corresponding analysis device ports located on the analysis device;
             and

             wherein the frame includes a plurality of apertures proximate the first
             edge of the microfluidic plate, the plurality of apertures corresponding
             to a second plurality of indexing features located on the analysis
             device, and

             wherein the second plurality of indexing features engage the
             microfluidic plate and the first plurality of indexing features engage
             the plurality of alignment holes to align the plurality of first fluidic
             ports, the plurality of seals, and the analysis device ports when the
             microfluidic cartridge is installed in the analysis device.

(Ex. 6, ’702 Patent at 14:6–34 & Certificate of Correction.)

             215. “A microfluidic cartridge comprising.” The AVITI Systems

and Element Sequencing Kits each include a microfluidic cartridge as recited in

Claim 1 of the ’702 Patent. The AVITI System Workflow Guide states that

“[e]ach nest holds one flow cell secured with a lid.” (Ex. 23, AVITI System



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Workflow Guide at 13 (emphasis added); see also Ex. 21, AVITI24 System User

Guide at 8 (“The nest bay includes two nests, one for each side, and each nest

holds one flow cell.” (emphasis added)).) “The flow cell is a two-lane glass

substrate encased in a plastic cartridge,” which reagents enter “through inlet ports

at the top of each lane” and “exit[] as waste through outlet ports at the bottom.”

(Ex. 23, AVITI System Workflow Guide at 32 (emphasis added); see also Ex. 21,

AVITI24 System User Guide at 13 (“Library and reagents enter the flow cell

through inlet ports and exit as waste through outlet ports.”).) These reagents are

fluids that flow through the flow cell. Thus, the flow cell and plastic cartridge in

the AVITI Systems and Element Sequencing Kits are the claimed microfluidic

cartridge.

             216. “a frame.” The microfluidic cartridge in the AVITI Systems

and Element Sequencing Kits has a frame as recited in Claim 1 of the ’702 Patent.

The image below shows the Cloudbreak microfluidic cartridge sold by Element for

use with the AVITI Systems. The plastic cartridge in the microfluidic cartridge is

a frame, as shown below.




                                         111
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                         plastic
                         cartridge
                         (frame)




(Ex. 15, “Cloudbreak™ Sequencing Kits,”
https://www.elementbiosciences.com/products/cloudbreak (annotated).)

             217. “a microfluidic plate positioned within the frame, wherein the

microfluidic plate floats relative to the frame.” The microfluidic cartridge in the

AVITI Systems and Element Sequencing Kits has a microfluidic plate positioned

within the frame as recited in Claim 1 of the ’702 Patent. The microfluidic

cartridge used in the AVITI Systems and Element Sequencing Kits includes “a

two-lane glass substrate encased in a plastic cartridge,” and fluids pass through the

two lanes within the substrate. (Ex. 8, AVITI System User Guide at 13; Ex. 21,

AVITI24 System User Guide at 13 (same).) The glass substrate, shown in the

images below, is the microfluidic plate.



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                          frame




                                                       microfluidic plate
                                                       (glass substrate)




(Ex. 15, “Cloudbreak™ Sequencing Kits,”
https://www.elementbiosciences.com/products/cloudbreak (annotated).)

      frame




                                  microfluidic plate
                                  (glass substrate)


(Ex. 21, AVITI24 System User Guide at 13 (green annotations in original, red
annotations added).)




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             218. The below image of the microfluidic cartridge in the AVITI

Systems and Element Sequencing Kits shows that the glass substrate (the

microfluidic plate) floats relative to the frame.



                                                                          glass substrate
                                                                          floats relative to
                                                                          frame




(Ex. 29, “Element Biosciences Cloudbreak Freestyle Sequencing Kits,”
https://player.vimeo.com/video/927684676 at 0:05 (annotated).)



                                              glass substrate
                                              floats relative to
                                              frame




                                          114
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(Ex. 30, “AVITI24™ at the University of Minnesota Genomics Center,”
https://www.youtube.com/watch?v=o6roQOvAlXE at 0:23 (Feb. 25, 2025)
(annotated).)

             219. “the microfluidic plate comprising a first side, a first edge, and

a plurality of first fluidic ports located in the first side.” The microfluidic plate in

the AVITI Systems and Element Sequencing Kits comprises a first side, a first

edge and a plurality of first fluidic ports located in the first side as recited in Claim

1 of the ’702 Patent. The glass substrate (the microfluidic plate) includes a first

side—the bottom face of the glass substrate. As shown below, the bottom face has

four edges, which follow the dotted red lines.

                                             top face of the
                                             microfluidic
                                             plate faces
                                             upward


                                                               microfluidic
                                                               plate




                 bottom face
                 (first side) of
                 the microfluidic
                 plate faces
                 downward




                                           115
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(Ex. 29, “Element Biosciences Cloudbreak Freestyle Sequencing Kits,”
https://player.vimeo.com/video/927684676 at 0:05 (annotated).)

             220. The first side (bottom face) has a first edge—the edge of the

glass substrate that is on the right in the image below. As shown below, the ends

of the first edge are marked by two apertures in the frame.



                    apertures in
                    frame


                                                    first edge of glass
                                                    substrate is the edge
                                                    adjacent to the
                                                    apertures




(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotations in original, red
annotations added).)

             221. The bottom face (the first side) of the glass substrate (the

microfluidic plate) contains a plurality of first fluidic ports. In the AVITI Systems,

“reagents enter the flow cell through inlet ports at the top of each lane, saturating

the surface and exiting as waste through outlet ports at the bottom.” (Ex. 23,

AVITI System Workflow Guide at 32; Ex. 21, AVITI24 System User Guide at 13

(“[R]eagents enter the flow cell through inlet ports and exit as waste through outlet

ports.”).) As shown in the image below, these flow cell outlet ports (the first

fluidic ports) are located on the bottom face (the first side) of the glass substrate

                                          116
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(the microfluidic plate).




                                  flow cell outlet
                                  ports (first fluidic
                                  ports) are visible
                                  through the
                                  microfluidic plate
                                  when viewed from
                                  above




(Ex. 29, “Element Biosciences Cloudbreak Freestyle Sequencing Kits,”
https://player.vimeo.com/video/927684676 at 0:06 (annotated).)

             222. “a support bracket positioned within the frame, wherein the

support bracket floats relative to the microfluidic plate and the frame, the support

bracket comprising.” The microfluidic cartridge in the AVITI Systems and

Element Sequencing Kits has a support bracket positioned within the frame as

recited in Claim 1 of the ’702 Patent. The image below shows a partially


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assembled microfluidic cartridge for use with the AVITI Systems. Within the

frame is a support bracket. (Ex. 19, Teton CytoProfiling User Guide at 25

(referring to the support bracket as a gasket).)




          support bracket




(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
annotations added).)

             223. The below image shows the support bracket.




                                          118
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(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original).)

             224. In the microfluidic cartridge of the AVITI Systems and Element

Sequencing Kits, the frame includes a recess that is sized to receive the support

bracket such that the bracket can float relative to the other components. As shown

in the below image, when the support bracket is in place, there are gaps between

the support bracket and the walls of the recess, which allows the support bracket to

float relative to both the glass substrate (the microfluidic plate) and the plastic

cartridge (the frame).




                                          119
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                                 extensions of
                                 support bracket




                                               support bracket floats relative
                                               to other components

(Ex. 29, “Element Biosciences Cloudbreak Freestyle Sequencing Kits,”
https://player.vimeo.com/video/927684676 at 0:06 (annotated).)

             225. “a plurality of seals supported by the support bracket.” The

microfluidic cartridge in the AVITI Systems and Element Sequencing Kits has a

plurality of seals supported by the support bracket as recited in Claim 1 of the ’702

Patent. As shown below, the support bracket includes a compressible material

(marked as “B1”) having two seals (that is, a plurality of seals).




                                          seals




                                         120
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(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
annotations added).)

             226. “each seal of the plurality of seals positioned to interface with a

corresponding first fluidic port of the plurality of first fluidic ports.” Each seal of

the plurality of seals in the AVITI Systems and Element Sequencing Kits is

positioned to interface with a corresponding fluidic port as recited in Claim 1 of

the ’702 Patent.

             227. The flow cell of the AVITI Systems and the Element

Sequencing Kits has two flow cell inlet ports in addition to the flow cell outlet

ports (the plurality of first fluidic ports) on the glass substrate (the microfluidic

plate). Identical support brackets, each supporting a plurality of seals, interface

with both the flow cell inlet ports and the flow cell outlet ports (the plurality of

first fluidic ports). (Ex. 19, Teton CytoProfiling User Guide at 6 (“The Teton flow

cell assembly kit contains an adhesive slide, two flow cell gaskets [i.e., support

brackets], and the top and bottom cartridge parts.” (emphasis added)).)

             228. The two seals sit directly over the ends of the two flow lanes in

the glass substrate (the microfluidic plate), where the flow cell outlet ports of the

glass substrate are positioned. Thus, when the support bracket is in place, each

seal is positioned to interface with one of the flow cell outlet ports (a

corresponding first fluidic port of the plurality of first fluidic ports) of the glass

substrate. The image below shows the flow cell inlet ports of the flow cell in the


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AVITI Systems and Element Sequencing Kits. The relationship between the flow

cell inlet ports and the seals on the depicted support bracket is identical to the

relationship between the flow cell outlet ports (the first plurality of fluidic ports)

and the seals on the other support bracket.




                                                                 inlet port
                                            seals (left seal
                                            offscreen)




(Ex. 14, Cloudbreak Sequencing User Guide at 28 (annotated).)

             229. “a plurality of alignment holes corresponding to a first plurality

of indexing features located on an analysis device.” The support bracket of the

microfluidic cartridge in the AVITI Systems and Element Sequencing Kits has a

plurality of alignment holes as recited in Claim 1 of the ’702 Patent. The support



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bracket, shown in the image below, includes two holes used to align the seals.




                                        alignment
                                        holes



(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
annotations added).)

             230. The image below depicts the position of the alignment holes

when the support bracket is in its place in the microfluidic cartridge. The plurality

of alignment holes includes these two holes.




                  alignment
                  holes




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(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
annotations added).)

             231. The sequencing instrument in the AVITI Systems is an analysis

device. The AVITI is a “next-generation sequencing (NGS) system,” (Ex. 8,

AVITI System User Guide at 6), and the AVITI24 is a “multidimensional

genomics instrument.” (Ex. 21, AVITI24 System User Guide at 6.) Both have

“[o]nboard primary analysis” software which “calls bases, assigns quality scores

(Q scores), and generates run metrics.” (Ex. 8, AVITI System User Guide at 22

(emphasis added); Ex. 21, AVITI24 System User Guide at 24 (same).) As shown

below, when the microfluidic cartridge is installed in the AVITI Systems,

protrusions extend into the two alignment holes in the support bracket (the

plurality of alignment holes) to position the seals. These protrusions on the nest of

the AVITI Systems are a first plurality of indexing features located on the

sequencing instrument (the analysis device). Thus, the plurality of alignment holes

in the support bracket corresponds to the first plurality of indexing features on an

analysis device.




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                                protrusions on the
                                sequencing instrument
                                extend into the alignment
                                holes in the support
                                bracket
(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01, 5:05 (July 21, 2022)
(annotated).)

             232. “the plurality of alignment holes configured to align the

plurality of seals with corresponding analysis device ports located on the analysis

device.” The plurality of alignment holes in the AVITI Systems and Element

Sequencing Kits is configured to align the plurality of seals with corresponding

analysis device ports as recited in Claim 1 of the ’702 Patent.

             233. The below image of the bracket shows the two holes in the

bracket (the plurality of alignment holes) colored in red and the two seal holes

colored in blue.




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(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
and blue coloring added).)

             234. In the AVITI Systems, “[l]ibrary and reagents enter the flow

cell through inlet ports and exit as waste through outlet ports.” (Ex. 8, AVITI

System User Guide at 13; Ex. 21, AVITI24 System User Guide at 13 (same).) In

the AVITI Systems, when the protrusions on the sequencing instrument (the first

plurality of indexing features) are inserted into the alignment holes in the support

bracket (the plurality of alignment holes), as shown in the image below, the

support bracket is positioned such that the seals on the support bracket (the

plurality of seals) that interface with the outlet ports of the flow cells align with the

AVITI Systems ports (the analysis device ports) on the sequencer (the analysis

device). Thus, the alignment holes in the support bracket are configured to align

the plurality of seals in the support bracket with corresponding analysis device


                                          126
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ports located on the sequencing instrument (the analysis device).




                                 protrusions on the
                                 sequencing instrument
                                 extend into the alignment
                                 holes in the support
                                 bracket
(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01, 5:05 (July 21, 2022)
(annotated).)

             235. “wherein the frame includes a plurality of apertures proximate

the first edge of the microfluidic plate.” The frame of the microfluidic cartridge in

the AVITI Systems and Element Sequencing Kits includes a plurality of apertures

proximate the first edge of the microfluidic plate as recited in Claim 1 of the ’702

Patent.

             236. As shown in the image below, the frame includes three holes, or

apertures. Two of the apertures are proximate to the edge with ends marked by

two of the apertures (the first edge) of the glass substrate (the microfluidic plate),

which is the rightward edge in the image below.



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                           first edge
                           of plate




                                                plurality of
                                                apertures in
                                                frame




(Ex. 15, “Cloudbreak™ Sequencing Kits,”
https://www.elementbiosciences.com/products/cloudbreak (annotated).)

             237. “the plurality of apertures corresponding to a second plurality

of indexing features located on the analysis device.” The two holes (the plurality

of apertures) in the frame correspond to the indexing features located on the

sequencing instrument (the analysis device) as recited in Claim 1 of the ’702

Patent. In the AVITI Systems and Element Sequencing Kits, “three silver pins on

the loading area fit into three corresponding holes on the flow cell cartridge [i.e.,

the frame].” (Ex. 8, AVITI System User Guide at 8 (emphasis added); Ex. 21,

AVITI24 System User Guide at 8 (same).) As shown in the image below, when

the microfluidic cartridge is installed in the AVITI Systems, two of the three silver

pins extend through the two apertures proximate to the first edge of the glass

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substrate (the microfluidic plate) to position the microfluidic cartridge on the

sequencing instrument (the analysis device). Thus, the plurality of apertures

proximate the first edge corresponds to these two silver pins, which are a second

plurality of indexing features located on the sequencing instrument (the analysis

device).




                                silver pins




(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01, 5:05 (July 21, 2022)
(annotated).)

             238. “wherein the second plurality of indexing features engage the

microfluidic plate and.” The second plurality of indexing features in the AVITI

Systems engage the microfluidic plate, as recited in Claim 1 of the ’702 Patent.

This clause is part of the wherein clause: “wherein the second plurality of

indexing features engage the microfluidic plate and the first plurality of indexing

features engage the plurality of alignment holes to align the plurality of first fluidic




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ports, the plurality of seals, and the analysis device ports when the microfluidic

cartridge is installed in the analysis device.”

               239. As shown in the image below, the apertures in the plastic

cartridge (the frame) are configured such that the two silver pins (the second

plurality of indexing features) engage the first edge of the glass substrate (the

microfluidic plate) to align the first fluidic ports with the plurality of seals when

the microfluidic device is installed in the AVITI Systems.




                               silver pins protrude
                               through apertures in
                               the plastic cartridge




                                                       first edge of
                                                       glass substrate
                                                       presses
                                                       against the
                                                       silver pins

  plastic cartridge
  (frame)

(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 4:56 (July 21, 2022)
(annotated).)

               240. “the first plurality of indexing features engage the plurality of

alignment holes.” The first plurality of indexing features engage the plurality of

alignment holes, as recited in Claim 1 of the ’702 Patent. This clause is part of the

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wherein clause: “wherein the second plurality of indexing features engage the

microfluidic plate and the first plurality of indexing features engage the plurality

of alignment holes to align the plurality of first fluidic ports, the plurality of seals,

and the analysis device ports when the microfluidic cartridge is installed in the

analysis device.”

             241. As shown in the image below, the two protrusions on the

sequencing instrument (the first plurality of indexing features) engage the holes in

the support bracket (the plurality of alignment holes in the support bracket) to align

the plurality of seals with the analysis device ports when the flow cell and plastic

cartridge (together, the microfluidic cartridge) are installed in the sequencing

instrument (the analysis device).




                                                                  first plurality of
                                                                  indexing
                                                                  features engage
                                                                  the plurality of
                                                                  alignment holes




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(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             242. “to align the plurality of first fluidic ports, the plurality of seals,

and the analysis device ports when the microfluidic cartridge is installed in the

analysis device.” In the AVITI Systems, the indexing features and the alignment

holes align the plurality of first fluidic ports, the plurality of seals and the analysis

device ports when the microfluidic cartridge is installed in the analysis device, as

recited in Claim 1 of the ’702 Patent. This clause is part of the wherein clause:

“wherein the second plurality of indexing features engage the microfluidic plate

and the first plurality of indexing features engage the plurality of alignment holes

to align the plurality of first fluidic ports, the plurality of seals, and the analysis

device ports when the microfluidic cartridge is installed in the analysis device.”

             243. In the AVITI Systems, “reagents enter the flow cell [i.e., the

microfluidic cartridge] through inlet ports and exit as waste through outlet ports

[i.e., the first fluidic ports].” (Ex. 8, AVITI System User Guide at 13; Ex. 21,

AVITI24 System User Guide at 13 (same).) As noted above, the protrusions (the

first plurality of indexing features) that fit into the holes in the support bracket (the

alignment holes) align the seals on the support bracket (the plurality of seals) with

the sequencing instrument ports (the analysis device ports), and the silver pins (the

second plurality of indexing features) that fit into the apertures in the frame (the



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plurality of apertures) align the flow cell outlet ports (the first fluidic ports) with

the seals on the support bracket (the plurality of seals). Thus, the two pluralities of

indexing features cooperate to align the flow cell outlet ports (the plurality of first

fluidic ports), the ports on the sequencing device (the analysis device ports), and

the seals on the support bracket that interface between them (the plurality of seals)

when the flow cell and plastic cartridge (together, the microfluidic cartridge) are

installed in the sequencing instrument (the analysis device).

             244. As shown above, the Element Sequencing Kits and the AVITI

Systems that make use of the Element Sequencing Kits satisfy each and every

limitation of Claim 1 of the ’702 Patent. The Element Sequencing Kits and the

AVITI Systems that make use of the Element Sequencing Kits also satisfy each

and every limitation of at least Claims 2–11.

             245. In violation of 35 U.S.C. § 271(a), Element has infringed the

’702 Patent by making, using, offering to sell and selling the Element Sequencing

Kits and the AVITI Systems.

             246. In violation of 35 U.S.C. § 271(b), Element has induced and

continues to induce its customers to directly infringe, both literally and/or under

the doctrine of equivalents, the ’702 Patent by taking actions that include, but are

not limited to, advertising its products and services and their infringing uses,

including on Element’s website; establishing distribution channels for these



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products in the United States; drafting, distributing or making available product

specifications, instructions or user manuals for the products to Element’s

customers and prospective customers and/or providing technical support or other

services for the products to Element’s customers and prospective customers. For

example, the AVITI product guides direct the user to perform infringing uses of

the AVITI Systems, including loading a flow cell into the nest (Ex. 23, AVITI

System Workflow Guide at 52; Ex. 21, AVITI24 System User Guide at 8), thereby

making use of the “microfluidic cartridge,” and monitoring sequencing metrics

(Ex. 23, AVITI System Workflow Guide at 53–54; Ex. 21, AVITI24 System User

Guide at 24), thereby making use of the “analysis device.” The user guides for the

Element Sequencing Kits similarly direct the user perform infringing uses of the

Element Sequencing Kits, including loading a flow cell into the nest (Ex. 14,

Cloudbreak Sequencing User Guide at 18; Ex. 17, Trinity Sequencing User Guide

at 11–12; Ex. 19, Teton CytoProfiling User Guide at 24–25), again making use of

the “microfluidic cartridge.” Element knows that when Element’s customers use

the Element Sequencing Kits and the AVITI Systems that make use of the Element

Sequencing Kits as directed by Element, Element’s customers are directly

infringing the ’702 Patent.

             247. Element has been on notice of the infringement alleged in this

Count since at least on or around the publication of U.S. Patent Application



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No. 18/827,174 (Publication No. US 2024/0424500)—from which the ’702 Patent

issued—on December 26, 2024. Alternatively, Element has been on notice of the

’702 Patent at least since May 15, 2025, when Illumina filed and served on

Element a complaint alleging that Element infringes the ’702 Patent. Element has

committed acts of infringement willfully and intentionally after notice of

infringement.

             248.   Illumina has been damaged by the infringement alleged in this

Count and will suffer irreparable harm absent an injunction.

            COUNT VI: INFRINGEMENT OF THE ’028 PATENT

             249. Illumina incorporates by reference paragraphs 1–67 as if fully

set forth herein.

             250. Element has infringed at least Claims 1–8 of the ’028 Patent in

violation of 35 U.S.C. § 271(a), by making, using, offering to sell and selling

within the United States the inventions claimed in the ’028 Patent.

             251. Independent Claim 1 of the ’028 Patent recites:

             A chemical or biological analysis system comprising:

             a microfluidic cartridge that includes:

             a frame;

             a microfluidic plate positioned within the frame, wherein the
             microfluidic plate floats relative to the frame, the microfluidic plate
             comprising a first side, a first edge, and a plurality of first fluidic ports
             located in the first side; and



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             a bracket positioned within the frame, wherein the bracket floats
             relative to the microfluidic plate and the frame, the bracket
             comprising a gasket and a plurality of alignment holes, wherein the
             frame includes a plurality of apertures proximate the first edge of the
             microfluidic plate; and

             a sequencer with a receiver configured to receive the microfluidic
             cartridge, the receiver including:

             a chuck;

             a plurality of analysis device ports;

             a first plurality of indexing features corresponding to the plurality of
             alignment holes; and

             a second plurality of indexing features corresponding to the plurality
             of apertures, wherein:

             the first plurality of indexing features and the plurality of alignment
             holes are configured to align the plurality of analysis device ports and
             the gasket, and

             the second plurality of indexing features are configured to engage the
             microfluidic plate to align the plurality of first fluidic ports and the
             gasket.

(Ex. 7, ’028 Patent at 14:6–34.)

             252. “A chemical or biological analysis system comprising.” The

’028 Patent discloses that DNA sequencers are a type of chemical or biological

analysis system. (Ex. 7, ’028 Patent at 1:28–31 (“Sequencers, e.g., genome

sequencers such as DNA sequencers or RNA sequencers, and other biological or

chemical analysis systems may sometimes utilize microfluidic flow cells.”).) As

previously alleged in regard to Claim 1 of the ’116 Patent (see supra ¶¶ 165–167),

the AVITI Systems are DNA sequencing instruments—a type of chemical or


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biological analysis system that analyzes DNA molecules. (See also Ex. 23, AVITI

System Workflow Guide at 6 (“The Element AVITI System is a mid-throughput

next-generation sequencing (NGS) system that amplifies and sequences DNA

libraries.”); Ex. 21, AVITI24 System User Guide at 6 (“The AVITI24 System

measures a diverse array of molecular features for deep multiomic profiling of

RNA, protein, and morphology in a single sample in 24 hours.”).) The AVITI

System is therefore the chemical or biological analysis system recited in Claim 1 of

the ’028 Patent.

             253. “a microfluidic cartridge that includes.” As previously alleged

in regard to Claim 1 of the ’702 Patent (see supra ¶ 215), the AVITI Systems

include a flow cell and a plastic cartridge. Together, the flow cell and plastic

cartridge comprise the microfluidic cartridge recited in Claim 1 of the ’028 Patent.

             254. “a frame.” As previously alleged in regard to Claim 1 of the

’702 Patent (see supra ¶ 216), the microfluidic cartridge in the AVITI Systems

includes a plastic cartridge. The plastic cartridge of the microfluidic cartridge is

the frame recited in Claim 1 of the ’028 Patent.

             255. “a microfluidic plate positioned within the frame, wherein the

microfluidic plate floats relative to the frame.” As previously alleged in regard to

Claim 1 of the ’702 Patent (see supra ¶¶ 217–218), the microfluidic cartridge in the

AVITI Systems has a glass substrate positioned within the frame that floats relative



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to the frame. This glass substrate is the floating microfluidic plate recited in Claim

1 of the ’028 Patent.

             256. “the microfluidic plate comprising a first side, a first edge, and

a plurality of first fluidic ports located in the first side; and.” As previously alleged

in regard to Claim 1 of the ’702 Patent (see supra ¶¶ 219–221), the microfluidic

plate in the AVITI Systems has a first side, a first edge and a plurality of first

fluidic ports located in the first side. In the AVITI Systems, the first side of the

two-lane glass substrate (the microfluidic plate) is the bottom face, the first edge of

the glass substrate is the edge on the right side when the microfluidic cartridge is

facing up, and the flow cell outlet ports that are located on the bottom face of the

glass substrate are the plurality of first fluidic ports located on the first side. These

are the first side, first edge and ports of the microfluidic plate recited in Claim 1 of

the ’028 Patent

             257. “a bracket positioned within the frame, wherein the bracket

floats relative to the microfluidic plate and the frame, the bracket comprising.” As

previously alleged in regard to Claim 1 of the ’702 Patent (see supra ¶¶ 222–224),

the microfluidic cartridge in the AVITI Systems has a bracket positioned within

the frame, wherein the bracket floats relative to the microfluidic plate and the

frame. The below image shows the claimed bracket.




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      bracket




(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
annotations added).)

This bracket is positioned within the frame and floats relative to the microfluidic

plate, as recited in Claim 1 of the ’028 Patent.

                258. “a gasket and.” The bracket in the AVITI Systems has a gasket

as recited in Claim 1 of the ’028 Patent. As shown below, the bracket includes a

compressible material (marked as “B1”), which is the claimed gasket.




                                          gasket




(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
annotations added).)



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             259. “a plurality of alignment holes.” As previously alleged in

regard to Claim 1 of the ’702 Patent (see supra ¶¶ 229–231), the bracket in the

AVITI Systems has a plurality of alignment holes, as shown in the image below.

The two holes in the bottom portion of the bracket, which are used to align the

seals, are the plurality of alignment holes recited in Claim 1 of the ’028 Patent.




                                alignment
                                holes



(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
annotations added).)

             260. “wherein the frame includes a plurality of apertures proximate

the first edge of the microfluidic plate; and.” As previously alleged in regard to

Claim 1 of the ’702 Patent (see supra ¶¶ 235–236), the frame in the AVITI

Systems has a plurality of apertures proximate the first edge of the microfluidic

plate. The two holes in the plastic cartridge (the frame) through which two of the

silver pins (the second plurality of indexing features) are inserted are the plurality

of apertures recited in Claim 1 of the ’028 Patent.




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             261. “a sequencer with a receiver configured to receive the

microfluidic cartridge, the receiver including.” As previously alleged in regard to

Claim 1 of the ’116 Patent (see supra ¶¶ 165–167), the AVITI Systems are DNA

sequencing instruments. (See also Ex. 23, AVITI System Workflow Guide at 6

(“The Element AVITI System is a mid-throughput next-generation sequencing

(NGS) system that amplifies and sequences DNA libraries.”).) Thus, the AVITI

Systems include the sequencer recited in Claim 1 of the ’028 Patent.

             262. The AVITI Systems’ sequencers include a receiver. As

previously alleged in regard to Claim 1 of the ’241 Patent (see supra ¶ 77), each of

the AVITI Systems has a nest bay that includes two nests, one for each side. The

nests are the receivers of the sequencers recited in Claim 1 of the ’028 Patent.

             263.   In the AVITI Systems, “[e]ach nest holds one flow cell secured

with a lid.” (Ex. 23, AVITI System Workflow Guide at 13; see also Ex. 21,

AVITI24 System User Guide at 8 (“The nest bay includes two nests, one for each

side, and each nest holds one flow cell.”).) Thus, the receivers are configured to

receive the flow cell (microfluidic device) as recited by Claim 1 of the ’028 Patent.

             264. “a chuck.” The receiver in the AVITI Systems has a chuck as

recited in Claim 1 of the ’028 Patent. The ’028 Patent discloses that the chuck is

the component of the receiver “against which the glass plate 114 may be drawn,

e.g., by a vacuum, during analysis operations. . . . The ends of



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the receiver 162 may include, for example, a clamping mechanism that may serve

to clamp the glass plate 114 against the chuck 176.” (Ex. 7, ’028 Patent at 10:3–

13.) The loading region of the AVITI Systems includes a base surface on which

the microfluidic cartridge is positioned within the instrument. The base surface is

shown in the image below. The base surface is the chuck recited in Claim 1 of the

’028 Patent because the flow cell is clamped against the base surface during

operation of the AVITI Systems.




               base
               surface
               (chuck)




                                                            loading
                                                            area



(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             265. “a plurality of analysis device ports.” As previously alleged in

regard to Claim 1 of the ’702 Patent (see supra ¶¶ 242–243), the AVITI Systems

include ports located on an analysis device. The ports on the AVITI Systems (the

sequencers) are the plurality of analysis device ports recited in Claim 1 of the ’028

Patent.


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             266. “a first plurality of indexing features corresponding to the

plurality of alignment holes; and.” As previously alleged in regard to Claim 1 of

the ’702 Patent (see supra ¶¶ 229–231), the two protrusions on the nest (the

receiver) are a first plurality of indexing features, shown in the image below, and

as recited in Claim 1 of the ’028 Patent. Those protrusions also correspond to the

plurality of alignment holes as recited in Claim 1 of the ’028 Patent.




                                                     protrusions from the nest
                                                     (first plurality of indexing
                                                     features)

(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01 (July 21, 2022)
(annotated).)

             267. When the flow cell (the microfluidic cartridge) is installed in

the AVITI Systems, the protrusions on the nest (the first plurality of indexing

features) extend into the two alignment holes in the bracket (the plurality of

alignment holes) to position the seals. Thus, the protrusions on the nest (the first

plurality of indexing features) correspond to the two alignment holes in the bracket

(the plurality of alignment holes) as recited in Claim 1 of the ’028 Patent.


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                  268. “a second plurality of indexing features corresponding to the

plurality of apertures, wherein.” As previously alleged in regard to Claim 1 of the

’702 Patent (see supra ¶ 237), two of the three silver pins in the loading area of the

nest are a second plurality of indexing features, as recited in Claim 1 of the ’028

Patent. Those two silver pins correspond to the plurality of apertures recited in

Claim 1 of the ’028 Patent.

                  269. The image below shows the two silver pins (the second

plurality of indexing features) extending through the two holes in the frame (the

plurality of apertures) to position the flow cell (the microfluidic cartridge) on the

nest (the receiver). Thus, the two silver pins (the second plurality of indexing

features) correspond to the two holes in the frame (the plurality of apertures) as

recited in Claim 1 of the ’028 Patent.




   silver pins                                  the silver pins
   (second                                      extend through
   plurality of                                 the holes in the
   indexing                                     frame (the
   features)                                    plurality of
                                                apertures)




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(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01, 5:05 (July 21, 2022)
(annotated).)

             270. “the first plurality of indexing features and the plurality of

alignment holes are configured to align the plurality of analysis device ports and

the gasket, and.” The first plurality of indexing features and the plurality of

alignment holes in the AVITI Systems are configured to align the plurality of

analysis device ports and the gasket as recited in Claim 1 of the ’028 Patent. The

below image of the bracket shows the two holes in the bracket (the plurality of

alignment holes) colored in red and the two holes in the compressible material (the

gasket) colored in blue.




(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
and blue coloring added).)


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             271. In the AVITI Systems, “[l]ibrary and reagents enter the flow

cell through inlet ports and exit as waste through outlet ports.” (Ex. 8, AVITI

System User Guide at 13; Ex. 21, AVITI24 System User Guide at 13 (same).)

When the two protrusions on the nest (the first plurality of indexing features) are

inserted into the holes in the bracket (the alignment holes) as shown in the image

below, the bracket is positioned such that the reagents flow from the flow cell

outlet ports, which are aligned with the gasket, to the AVITI Systems ports (i.e.,

the analysis device ports). Thus, the two protrusions on the nest (the first plurality

of indexing features) and the two holes in the support bracket (the plurality of

alignment holes) are configured to align the ports on the AVITI sequencer (the

plurality of analysis device ports) and the compressible material (the gasket) in the

bracket of the flow cell (microfluidic cartridge).




                                 protrusions on the
                                 sequencing instrument
                                 extend into the
                                 alignment holes in the




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(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 5:01, 5:05 (July 21, 2022)
(annotated).)

             272. “the second plurality of indexing features are configured to

engage the microfluidic plate to align the plurality of first fluidic ports and the

gasket.” In the AVITI Systems, the compressible material on the bracket (the

gasket) interfaces with the flow cell outlet ports (the plurality of first fluidic ports)

of the flow cell (microfluidic cartridge). The image below shows the flow cell

inlet ports of the flow cell in the AVITI Systems. The relationship between the

flow cell inlet ports and the gasket on the bracket that interfaces with the inlet ports

is identical to the relationship between the flow cell outlet ports (the first plurality

of fluidic ports) and the gasket on the bracket that interfaces with the outlet ports.




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                                                                 inlet port
                                            seals (left seal
                                            offscreen)




(Ex. 14, Cloudbreak Sequencing User Guide at 28 (annotated).)

             273. As shown in the images below, when the microfluidic device is

inserted into the nest (the receiver) and the nest lid is closed, the glass substrate

(the microfluidic plate) presses against the two silver pins (the second plurality of

indexing features). When the glass substrate (the plate) is pressed against the

silver pins, the glass substrate is held in a fixed position such that the outlet ports

on the bottom of the flow cell (the plurality of first fluidic ports) are aligned with

the gasket in the bracket. Thus, the two silver pins (the second plurality of

indexing features) are configured to engage the two-lane glass substrate (the



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microfluidic plate) to align the flow cell outlet ports (the plurality of first fluidic

ports) and the gasket.




                                silver pins




                                                        first edge of
                                                        glass substrate
                                                        presses
                                                        against the
                                                        silver pins

  glass substrate
  (microfluidic
  plate)
(Ex. 25, “Element AVITI™ System - Instrument Demonstration,”
https://www.youtube.com/watch?v=2Q4DQV9H80U at 4:56 (July 21, 2022)
(annotated).)




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                                           first edge of
                                           glass substrate
                                           presses against
                    glass substrate        silver pins
                    (microfluidic plate)

                         gasket




                flow cell outlet
                ports                                           silver pins
                                                                inserted
                                                                here


(Ex. 19, Teton CytoProfiling User Guide at 25 (green annotation in original, red
and blue annotations added).)

             274. As shown above, the AVITI Systems satisfy each and every

limitation of Claim 1 of the ’028 Patent. The AVITI Systems also satisfy each and

every limitation of at least Claims 2–8.

             275. In violation of 35 U.S.C. § 271(a), Element has infringed the

’028 Patent by making, using, offering to sell and selling the AVITI Systems.

             276. In violation of 35 U.S.C. § 271(b), Element is inducing and will

continue to induce its customers to directly infringe, both literally and/or under the

doctrine of equivalents, the ’028 Patent by taking actions that include, but are not

limited to, advertising its products and services and their infringing uses, including



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on Element’s website; establishing distribution channels for these products in the

United States; drafting, distributing or making available product specifications,

instructions or user manuals for the products to Element’s customers and

prospective customers and/or providing technical support or other services for the

products to Element’s customers and prospective customers. For example, the

AVITI product guides direct the user to perform infringing uses of the AVITI

Systems, including loading a flow cell into the nest (Ex. 23, AVITI System

Workflow Guide at 52; Ex. 21, AVITI24 System User Guide at 8), thereby making

use of the “microfluidic cartridge,” and monitoring sequencing metrics (Ex. 23,

AVITI System Workflow Guide at 53–54; Ex. 21, AVITI24 System User Guide at

24), thereby making use of the “chemical or biological analysis system.” Element

knows that when Element’s customers use the AVITI Systems as directed by

Element, Element’s customers are directly infringing the ’028 Patent.

             277. Element has been on notice of the infringement alleged in this

Count since at least on or around June 11, 2025.

             278.   Illumina has been damaged by the infringement alleged in this

Count and will suffer irreparable harm absent an injunction.

                             PRAYER FOR RELIEF

             WHEREFORE, Illumina prays for judgment in its favor and against

Element and respectfully requests the following relief:



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             A.     A judgment that Element has infringed one or more claims of

the ’241 Patent, the ’781 Patent, the ’130 Patent, the ’116 Patent, the ’702 Patent

and the ’028 Patent.

             B.     Damages adequate to compensate Illumina for the infringement,

but in no event less than a reasonable royalty for the use made of the inventions by

Element, together with interest and costs.

             C.     Enhanced damages up to three times the amount found or

assessed for the infringement of the ’241 Patent, the ’781 Patent, the ’130 Patent,

the ’116 Patent and the ’702 Patent pursuant to 35 U.S.C. § 284 on the ground that

Element’s infringement of those patents was and is deliberate and willful.

             D.     An injunction against infringement of the ’241 Patent, the ’781

Patent, the ’130 Patent, the ’116 Patent, the ’702 Patent and the ’028 Patent.

             E.     A declaration that this case is exceptional within the meaning of

35 U.S.C. § 285, and awarding reasonable attorneys’ fees, costs and disbursement

incurred as a result of this action.

             F.     Such other and further relief as the Court deems just and

proper.




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                                  JURY DEMAND

              Pursuant to Fed. R. Civ. P. 38(b), Illumina demands a jury trial on all

issues so triable.




                                            /s/ Kelly E. Farnan
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Dated: June 11, 2025




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                         CERTIFICATE OF SERVICE
      I hereby certify that on June 11, 2025, true and correct copies of the foregoing

document were caused to be served on the following counsel of record as indicated:

        BY HAND DELIVERY
        Element Biosciences, Inc.
        c/o Incorporating Services, Ltd.
        3500 S DuPont Hwy
        Dover, DE 19901



                                                    /s/ Kelly E. Farnan
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